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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 NATIONAL RIFLE ASSOCIATION OF        §
 AMERICA,                             §
                                      §
     Plaintiff and Counter-Defendant, §
                                      §
 and                                  §
                                      §
     WAYNE LAPIERRE,                  §
                                      §
     Third-Party Defendant,           §
                                      §
 v.                                   §                   Case No. 3:19-cv-02074-G
                                      §
 ACKERMAN MCQUEEN, INC.,              §
                                      §
     Defendant and Counter-Plaintiff, §
                                      §
 and                                  §
                                      §
 MERCURY GROUP, INC., HENRY           §
 MARTIN, WILLIAM WINKLER,             §
 MELANIE MONTGOMERY, AND JESSE §
 GREENBERG,                           §
                                      §
     Defendants.

       DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S
   FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT

 TO:    Plaintiff/Counter-Defendant National Rifle Association of America, by and through its
        counsel of record, Michael J. Collins and Jason C. McKenney, BREWER, ATTORNEYS &
        COUNSELORS, 1717 Main Street, Suite 5900, Dallas, Texas 75201.

        Pursuant to Federal Rule of Civil Procedure 34, Defendant/Counter-Plaintiff Ackerman

 McQueen, Inc. (“AMc”) hereby serve its First Requests for Production (each a “Request” and

 collectively, the “Requests”) on Plaintiff/Counter-Defendant the National Rifle Association of

 America (“NRA”).




 DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S                                  PAGE 1
 FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT
                                                                                     APP005
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                                      I.      INSTRUCTIONS

        1.       You are instructed to produce the documents and items listed in Section III of these
 Requests, using the definitions listed in Section II of these Requests and the instructions listed in
 Section I of these Requests.

        2.     Your responses to these Requests and the documents requested must be served upon
 the undersigned counsel within thirty (30) days of service of these Requests to the law office of
 DORSEY & WHITNEY LLP, 300 Crescent Court, Suite 400, Dallas, Texas 75201 and/or
 mason.brian@dorsey.com.

         3.      In producing Documents, you are to produce all Documents in your possession,
 custody, or control, regardless of whether such Documents are directly in your possession, custody,
 or control, or in the possession, custody, or control of your attorneys, agents, representatives, or
 any other persons acting or purporting to act on your behalf or under your direction or control.
 These Requests shall be treated as seeking any and all information within your care, custody or
 control.

         4.     Where you are asked to identify or describe a document and the document is in a
 paper format, state the date of the document, identify any persons that authored the document,
 identify any recipients of the document, and identify all custodians of any copy of the document.

         5.      When you are asked to identify or describe a document and the document is in an
 electronic or digital format, identify the format of the document, the system or media in which the
 document is maintained, and identify all personnel with access to that system or media.

         6.      If you assert any privilege or protection as trial-preparation material as a ground for
 failing to produce Documents responsive to any Request, you shall respond to that part of each
 such Request that, in your view, does not seek allegedly privileged or otherwise protected
 information or communications. For each Document, or portion thereof, responsive to a Request
 for which you claim a privilege or other protection, you shall describe the factual basis for such
 claim in sufficient detail to permit adjudication of the validity of that claim, including without
 limitation, the following information:

                a.    an identification or description of the Document withheld;

                b.    the name, title and job description of each person who has received or utilized
                      the Document;

                c.    a description of the subject matter of the Document; and

                d.    the nature of the privilege or other protection claimed

        7.     If any Document is not or cannot be produced in full, you are to produce the
 Document to the extent possible, indicating which portion of such Document is not or cannot be
 produced and the reason.



 DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S                                           PAGE 2
 FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT
                                                                                             APP006
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         8.      These Requests seek the production of electronic or magnetic data. Information
 that exists in electronic form is requested in its native or near-native format and should not be
 converted to imaged formats. Native format requires production in the same format in which the
 information was customarily created, used, and stored by you. The following are examples of the
 native or near-native forms in which specific types of electronically-stored information (“ESI”)
 should be produced.

  Microsoft Word documents                 .doc, .docx

  Microsoft Excel spreadsheets             .xls, .xlsx

  Microsoft PowerPoint presentations       .ppt, .pptx

  Microsoft Access databases               .mdb, .accdb

  WordPerfect documents                    .wpd

  Adobe Acrobat documents                  .pdf

  Images                                   .jpg, .jpeg, .png

  Email                                    Messages should be produced in a form that readily
                                           supports import into standard email client programs,
                                           such as those outlined in RFC 5322 (the internet email
                                           standard). For Microsoft Exchange or Outlook, that
                                           means .pst format. Single message production formats
                                           like .msg or .eml may be furnished, if source foldering
                                           data is preserved and produced. If your workflow
                                           requires that attachments be extracted and produced
                                           separately, those attachments should be produced in
                                           their native forms with parent/child relationships to
                                           the messages and containers preserved and produced
                                           in a delimited text file.

  Databases                                Unless the entire contents of a database are responsive,
                                           extract responsive content to a fielded and
                                           electronically searchable format preserving metadata
                                           values, keys and filed relationships. If doing so is not
                                           feasible, please identify and supply information
                                           concerning the schemae and query language of its
                                           export capabilities, so as to facilitate crafting a query
                                           to extract and export responsive data

  Text Messages                            Text messages should be produced in native form
                                           whether in short message service (SMS) or




 DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S                                        PAGE 3
 FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT
                                                                                          APP007
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                                             multimedia messaging service (MMS), including but
                                             not limited to .bbm, .sms, .mms, .ipa, or .mmssms.db


 Information that does not exist in native electronic formats or which require redaction of privileged
 content should be produced in searchable .pdf formats or as single page .tiff images with OCR text
 furnished and logical unitization and family relationships preserved. Production of ESI should be
 made using a thumb/flash drive or, preferably, an FTP client.

        9.     If any requested Documents have been lost, destroyed, or are otherwise no longer
 in your possession, custody, or control, such Documents or material shall be identified as
 completely as possible.

       10.     The Requests are continuing in nature. If additional information is obtained or
 becomes available, you have a duty to supplement any response to the Requests as necessary.

                                       II.    DEFINITIONS

        The following terms and definitions shall apply to each Request contained herein:

        1.       The use of any term in the Definitions section of these requests should be
 understood to include any and all variations of that term necessary to bring within the scope of the
 request all responses that might otherwise be construed to be outside of its scope.

         2.     “Lawsuit” is defined as the above-captioned litigation pending in the United States
 District Court for the Northern District of Texas, Dallas Division, and should be understood to
 include any and all amended complaint(s) as of the date that such amended complaint is filed with
 the Court.

       3.       “Complaint” shall refer to Plaintiffs’ First Amended Complaint filed in the
 Lawsuit on October 25, 2019 (ECF 18), and should be understood to include any and all amended
 complaint(s) as of the date that such amended complaint is filed with the Court.

        4.      “NRA” should be understood to refer to Plaintiff/Counter-Defendant the National
 Rifle Association of America, and includes all agents, officers, directors, partners, associates,
 members, managers, owners, shareholders, employees, staff members, attorneys, consultants,
 representatives, subsidiaries thereof (including the NRA Foundation, NRA Civil Rights Defense
 Fund, the NRA Special Contribution Fund (Whittington Center), and the NRA Freedom Action
 Foundation), and any others acting on behalf of the NRA or under the NRA’s direction and control,
 whether currently or during the time period specified in the Request, including but not limited to:
 Wayne LaPierre, William (Bill) Brewer, III, the Brewer Firm (including but not limited to Bill
 Brewer, Michael Collins, Jason McKenney, and William Brewer, IV), John Frazer, Michael
 Volkov, Charles (Chuck) Cooper, Wilson (Woody) Phillips, Josh Powell, Carolyn Meadows,
 Andrew Arulanandam, Michael Blaz, Pete Brownell, Richard Childress, Allan Cors, Charles
 Cotton, Christopher Cox, Emily Cummings, Caitlin Fiant, Sandy Froman, Todd Grable, Millie
 Hallow, Marion Hammer, Steve Hart, David Keene, Willis Lee, Oliver North, John Perrin, James



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 (Jim) Porter, Kayne Robinson, Tyler Schropp, Craig Spray, Lisa Supernaugh, Rick Tedrick, and
 Graham Wood.

         5.     “AMc” should be understood to refer to Ackerman McQueen, Inc., and includes all
 agents, officers, directors, partners, associates, members, managers, owners, shareholders,
 employees, staff members, attorneys, consultants, representatives, subsidiaries thereof, and any
 others acting on behalf of Ackerman McQueen, Inc. or under Ackerman McQueen, Inc.’s direction
 and control.

         6.    “NRA Foundation” should be understood to refer to the NRA Foundation, Inc.,
 and includes all agents, officers, directors, partners, associates, members, managers, owners,
 shareholders, employees, staff members, attorneys, consultants, representatives, subsidiaries
 thereof, and any others acting on behalf of the NRA Foundation, Inc. or under the NRA
 Foundation, Inc.’s direction and control.

         7.     “Brewer Firm” should be understood to refer to Brewer Attorneys & Counselors,
 and includes all agents, officers, directors, partners, associates, members, managers, owners,
 shareholders, employees, staff members, attorneys, consultants, representatives, subsidiaries
 thereof, and any others acting on behalf of the law firm, Brewer, Brewer IV, Collins, McKenney
 or under the law firm’s, Brewer’s, Brewer IV’s, Collins’, or McKenney’s direction and control.

         8.     “New York AG” should be understood to refer to the New York Attorney General,
 and includes all agents, officers, directors, partners, associates, members, managers, owners,
 shareholders, employees, staff members, attorneys, consultants, representatives, subsidiaries
 thereof, and any others acting on behalf of the New York Attorney General or under the New York
 Attorney General’s direction and control.

         9.     “Arulanandam” should be understood to refer to Andrew Arulanandam and
 includes his attorneys, agents, representatives, partners, and any other person acting under his
 control.

         10.    “Blaz” should be understood to refer to Michael Blaz and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

         11.    “Boren” should be understood to refer to Dan Boren and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        12.     “Brewer” should be understood to refer to William A. Brewer, III and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        13.     “Brewer IV” should be understood to refer to William Brewer, IV and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        14.     “Brownell” should be understood to refer to Pete Brownell and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        15.      “Carter” should be understood to refer to Travis J. Carter and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

 DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S                                    PAGE 5
 FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT
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        16.     “Childress” should be understood to refer to Richard Childress and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        17.     “Christman” should be understood to refer to Scott Christman and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        18.     “Collins” should be understood to refer to Michael Collins and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control

         19.     “Cooper” should be understood to refer to Charles (Chuck) Cooper and includes
 his attorneys, agents, representatives, partners, and any other person acting under his control.

         20.    “Cors” should be understood to refer to Allan Cors and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        21.     “Cotton” should be understood to refer to Charles Cotton and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

         22.    “Cox” should be understood to refer to Christopher Cox and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

         23.    “Crew” should be understood to refer to Kyle Crew and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        24.      “Cummings” should be understood to refer to Emily Cummings and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

         25.    “Frazer” should be understood to refer to John Frazer and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        26.     “Froman” should be understood to refer to Sandy Froman and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

         27.    “Grable” should be understood to refer to Todd Grable and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

         28.    “Hakim” should be understood to refer to Danny Hakim and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        29.     “Hallow” should be understood to refer to Millie Hallow and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

        30.     “Hammer” should be understood to refer to Marion Hammer and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

         31.    “Hart” should be understood to refer to Steve Hart and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.



 DEFENDANT/COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S                                     PAGE 6
 FIRST REQUESTS FOR PRODUCTION TO PLAINTIFF/COUNTER-DEFENDANT
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         32.    “Keene” should be understood to refer to David Keene and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        33.     “LaPierre” should be understood to refer to Third-Party Defendant Wayne
 LaPierre and includes his attorneys, agents, representatives, partners, and any other person acting
 under his control.

        34.     “Lee” should be understood to refer to Willis Lee and includes his attorneys, agents,
 representatives, partners, and any other person acting under his control.

         35.    “Loesch” should be understood to refer to Dana Loesch and includes her attorneys,
 agents, representatives, partners, and any other person acting under her control.

        36.     “McKenney” should be understood to refer to Jason McKenney and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        37.     “Meadows” should be understood to refer to Carolyn Meadows and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

         38.    “North” should be understood to refer to Oliver North and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

         39.    “Payne” should be understood to refer to Tamara Payne and includes her attorneys,
 agents, representatives, partners, and any other person acting under her control.

         40.    “Perrin” should be understood to refer to John Perrin and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        41.     “Phillips” should be understood to refer to Woody Phillips and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        42.     “Porter” should be understood to refer to James (Jim) Porter and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

         43.    “Powell” should be understood to refer to Josh Powell and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        44.     “D. Robinson” should be understood to refer to Derek Robinson and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        45.     “K. Robinson” should be understood to refer to Kayne Robinson and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        46.     “Schropp” should be understood to refer to Tyler Schropp and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        47.     “Sloan” should be understood to refer to Gurney Sloan and includes his/her
 attorneys, agents, representatives, partners, and any other person acting under his control.


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         48.    “Spray” should be understood to refer to Craig Spray and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        49.     “Stinchfield” should be understood to refer to Grant Stinchfield and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

        50.     “Supernaugh” should be understood to refer to Lisa Supernaugh and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

        51.     “Stanton” should be understood to refer to David Stanton and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

         52.    “Tedrick” should be understood to refer to Rick Tedrick and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

        53.     “Upart” should be understood to refer to Caitlin Fiant Upart and includes her
 attorneys, agents, representatives, partners, and any other person acting under her control.

        54.     “Volkov” should be understood to refer to Michael Volkov and includes his
 attorneys, agents, representatives, partners, and any other person acting under his control.

         55.    “Wood” should be understood to refer to Graham Wood and includes his attorneys,
 agents, representatives, partners, and any other person acting under his control.

         56.    “Forensic Risk Analysis” should be understood to refer to Forensic Risk Analysis,
 and includes all agents, officers, directors, partners, associates, members, managers, owners,
 shareholders, employees, staff members, attorneys, consultants, representatives, subsidiaries
 thereof, and any others acting on behalf of Forensic Risk Analysis or under Forensic Risk
 Analysis’s direction and control.

      57.   “Services Agreement” should be understood to refer to the agreement between the
 NRA and AMc dated April 30, 2017, as amended May 6, 2018.

          58.   “North Contract” should be understood to refer to the contract between AMc and
 North.

       59.      “Loesch Contract” should be understood to refer to the contract between AMc and
 Loesch.

        60.     “And” and “or” shall each be individually interpreted in every instance as meaning
 “and/or” and shall not be interpreted disjunctively to exclude any information otherwise within the
 scope of any specification.

        61.     “Communication” should be understood to refer to any contact or act by which
 any information is transmitted or conveyed between two or more persons, and shall include,
 without limitation, written contact by such means as letters; memoranda; telegrams; telexes; text
 messages; social media messages, communications, or posts (including but not limited to
 Facebook, Facebook Messenger, Instagram, Slack, Twitter, Apple messaging, WhatsApp,

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 WeChat, and Jabber), e-mails, or any other electronically transmitted messages, by any Document,
 and any oral contact by such means as face to face meetings or conversations and telephone
 conversations which are transcribed, notated or in any other manner memorialized in written, typed
 or recorded form.

         62.     “Concerning” should be understood to refer to constituting, relating to, referring
 to, describing, evidencing, showing, demonstrating, analyzing, reflecting, constituting, containing,
 embodying, setting forth, identifying, stating, dealing with, supporting, contradicting, or is in any
 manner whatsoever pertinent to that subject.

          63.     “Document” shall have the broadest meaning possible and should be understood
 to include any written, printed, typed, and visually, aurally, or electronically reproduced material
 of any kind, whether or not privileged, including, but not limited to, electronic mail, computer
 files, source code, backup media, and databases; files and file folders; text messages; social media
 messages, communications, or posts (including but not limited to Facebook, Facebook Messenger,
 Instagram, Slack, Twitter, Apple messaging, WhatsApp, WeChat, and Jabber)books and their
 contents, whether printed or recorded or reproduced by hand or any other mechanical process; and
 all other tangible manifestations of communications whether or not claimed to be privileged,
 confidential, or personal; namely, communications, including intra-company communications,
 correspondence, telegrams, memoranda, summaries or records of telephone conversations,
 summaries or records of personal conversations; diaries; forecasts; statistical statements; plans,
 specifications, data sheets, drawings, graphs, flow charts, prototypes and tangible things,
 evaluation boards, photographs, films, pictures, and videotapes; minutes or records of meetings,
 including directors’ meetings, minutes or records of conferences; expressions of statements or
 policy; lists of persons attending meetings or conferences; reports and/or summaries of interviews
 or investigations; opinions or reports of consultants’ patent appraisals; opinions of counsel;
 agreements; records, reports or summaries of negotiations; brochures, pamphlets, advertisements,
 circulars, trade letters, packing materials and notices, press releases; litigation files and databases;
 and any drafts or revisions of any document and any notes or comments appearing on any
 document, whether preliminary or marginal. A comment or notation appearing on any document,
 and not a part of the original document, is considered a separate document within the meaning of
 the term. A draft or non-identical copy is a separate document within the meaning of the term.

         64.     “Including” should be understood to refer to “including but not limited to,” and is
 not restrictive or limiting.

        65.     “Person” as used herein means all individuals and entities and shall be deemed to
 include natural persons, firms, partnerships, associations, organizations, joint ventures,
 corporations, and any other entities.

         66.    “Relate”, “related to” “relating” or “relating to” refers to any act, work, meeting,
 oral or written communication, or document, referring, directly or indirectly, in any way to the
 described facts, or evidencing, directly or indirectly, such facts.

        67.    The singular form of a word includes the plural form of that word and the plural
 form of a word includes the singular form.



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        68.     Unless otherwise indicated, all other terms used herein shall have the same meaning
 and definition used in Merriam-Webster’s online dictionary at www.merriam-webster.com.

        69.     Unless other specified in the request, the relevant time period for purposes of
 production is January 1, 2017 through the present.




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                                        III.    REQUESTS

         1.      Produce the documents and communications evidencing and relating to Brewer’s
 knowledge that his father-in-law, Angus McQueen, was suffering from a terminal illness,
 including, but not limited to, documents and communications demonstrating when Brewer learned
 of the same.

        2.       Produce the documents and communications evidencing and relating to when any
 executive of the NRA learned that Brewer’s father-in-law, Angus McQueen, was suffering from a
 terminal illness.

        3.       Produce the documents and communications relating to Angus McQueen’s
 terminal illness and passing.

         4.     Produce a copy of the current version, and any previous drafts of, the engagement
 letter between the Brewer Firm and the NRA.

        5.      Produce the documents and communications relating to the Brewer Firm’s billing,
 including, but not limited to (a) the billing statements or invoices issued by the Brewer Firm to the
 NRA for all work done on behalf of the NRA from January 1, 2017 through present; (b) the
 payment of the billing statements or invoices.

         6.     Produce the documents and communications received by the NRA relating to the
 retention and engagement of Brewer and the Brewer Firm by the NRA.

          7.      Produce the PowerPoint presentations presented by the Brewer Firm to the NRA,
 the NRA Board of Directors, and/or North relating to the New York AG, the NRA non-profit
 status, litigation with Lockton, litigation with AMc or other NRA related vendors, or conflicts.

         8.     Produce the PowerPoint presentation presented by Brewer to LaPierre, North, and
 others regarding conflicts of interest within the NRA as discussed during North’s December 18,
 2019.

        9.      Produce the documents and communications exchanged between (a) the NRA and
 (b) Brewer or the Brewer Firm from January 1, 2017 to the present.

         10.    Produce the documents and communications relating to any conflict or conflict of
 interest between (a) the NRA and (b) Brewer or the Brewer Firm.

       11.    Produce the documents and communications sent to, received from, or otherwise
 exchanged between (a) Arulanandam and (b) Brewer or the Brewer Firm.

         12.    Produce the documents and communications relating to any “vetting” or
 examination of the Brewer Firm’s legal bills or invoices performed by (a) the NRA’s Treasurer’s
 office and/or (b) the NRA’s General Counsel,




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        13.    Produce a copy of the presentations provided by the Brewer Firm to the NRA’s
 Board of Directors                                                                     .

        14.     Produce the documents and communications relating to WBB Investments, LLC.

         15.     Produce the NRA’s policies and procedures regarding contracts, including, but not
 limited to, negotiation of contracts, payment pursuant to contracts, who has authority to execute
 contracts, retention of contract documents, and termination of contracts.

         16.    Produce the documents and communications relating to the NRA’s requirement that
 its Board of Directors approve all NRA contracts, expenses, and other expenditures or transactions
 in excess of $100,000,                                                          .

         17.   Produce the documents and communications relating to all contracts retroactively
 approved and/or ratified by the NRA Board of Directors that were executed by LaPierre on behalf
 of the NRA from January 1, 2017 to the present,


        18.     Produce a copy of the September 2018 contract between the NRA and Hammer.

          19.     Produce the documents and communications relating to the September 2018
 contract between the NRA and Hammer, including, but not limited to, (a) approval and/or
 ratification of that contract by the NRA’s Board of Directors, (b) invoices, and (c) other documents
 evidencing, describing, and relating to the work Hammer performed, is performing, and/or has
 promised to perform for the NRA.

        20.     Produce LaPierre’s personal notes, whether handwritten, typed, voice-recorded, or
 reduced to any other medium, that concern, refer, or relate to meetings with AMc from January
 2016 to the present.

        21.    Produce the communications exchanged between (a) the NRA, Brewer, and/or the
 Brewer Firm and (b) any current or former employee or representative of the American Clean
 Skies Foundation since January 1, 2019.

        22.    Produce the communications between (a) Hakim and (b) the NRA, Brewer, and/or
 the Brewer Firm from January 1, 2019 to June 25, 2019.

        23.      Produce the documents submitted to, and communications with, the New York AG
 concerning (a) your tax exempt status and the New York AG’s investigation of same and (b) your
 response to its subpoena issued to you in December 2019.

        24.    Produce the communications between (a) the NRA, Brewer, and/or the Brewer
 Firm and (b) Payne from January 1, 2019 to the present.

         25.    Produce the communications between (a) Grable, D. Robinson, Phillips, and/or
 Crew, on the one hand (whether jointly or individually), and (b) any other person at the NRA, on
 the other hand, relating to the meeting with AMc that occurred on October 30, 2018.


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         26.   Produce the reports, analyses, notes, and other documents prepared by Grable, D.
 Robinson, Crew, and Phillips (whether jointly or individually) on or after October 30, 2018,
 relating to NRATV viewership analytics or otherwise prepared at or as a result of the meeting with
 AMc that occurred on October 30, 2018.

      27.   Produce the documents and communications relating to the NRA’s concern that
 AMc was publicly revealing confidential information


        28.      Produce the documents and communications relating to the NRA’s decision, or
 decisions made on behalf of the NRA, to publicly reveal information about the Lawsuit, the claims
 or defenses in the Lawsuit, and/or AMc.

        29.     The NRA’s corporate entity chart.

        30.     The NRA Foundation’s entity chart.

         31.     Produce the communications between the NRA and Sloan from January 1, 2018 to
 the present that mention AMc, any employee or representative of AMc, or any project of AMc.

        32.    Produce the communications, notes, and other documents prepared by Phillips,
 Spray, and Powell referring or relating to, or otherwise prepared for, budget meetings with AMc.

        33.    Produce the communications, notes, and other documents evidencing the NRA’s
 approval of AMc’s annual budget from 2016 to 2019.

        34.     Produce the communications, notes, and other documents prepared by Phillips,
 Grable, and Powell (whether jointly or individually) referring or relating to, or otherwise prepared
 for, meetings with AMc regarding NRATV analytics.

         35.     Produce the minutes from meetings of the NRA Board of Directors from January
 2016 to the present, including any notes concerning, referring, or otherwise relating to AMc, North,
 the North Contract, North’s requests for the NRA to audit/review the Brewer Firm’s
 invoices/billing records to the NRA, Loesch, the Loesch Contract, LaPierre, the New York AG’s
 investigation into the NRA, Brewer, and/or the Brewer Firm.

        36.     Produce the reports from the NRA Audit Committee from January 1, 2017 to the
 present, including, but not limited to, the reports regarding AMc, the North Contract, Brewer, the
 Brewer Firm, North, Loesch, the Loesch Contract, NRA vendors, the New York AG, and/or the
 NRA’s compliance with non-profit laws.

         37.     Produce the documents and communications relating to the requirements under
 New York state law that the NRA Audit Committee must see and/or review the North Contract
 before it could be finally approved by the NRA.

         38.     Produce the documents and communications relating to the idea for, negotiation of,
 drafting of, and suspension or furlough of the North Contract and the Loesch Contract.


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      39.      Produce the documents and communications relating to North’s request that the
 NRA audit or review the Brewer Firm’s bills or invoices.

         40.     Produce the documents and communications relating to Cummins’ concerns or
 issues raised to the NRA’s Audit Committee about Brewer and/or the Brewer Firm.

        41.    Produce the documents and communications between (a) Cotton and (b) Brewer,
 the Brewer Firm, LaPierre, and/or Powell.

         42.    Produce a copy of the fully executed settlement agreement with the NRA that
 resolved the matter styled National Rifle Association of America v. Lockton Affinity Series of
 Lockton Affinity, LLC and Kansas City Series of Lockton Companies, LLC, in the United States
 District Court for the Eastern District of Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

        43.      Produce the documents evidencing and relating to attorneys’ fees and other monies
 Brewer or the Brewer Firm requested and/or received in relation to the matter styled National Rifle
 Association of America v. Lockton Affinity Series of Lockton Affinity, LLC and Kansas City Series
 of Lockton Companies, LLC, in the United States District Court for the Eastern District of
 Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

        44.     Produce the contract(s), agreement(s), or other documents evidencing the
 understanding(s) between (a) Brewer or the Brewer Firm and (b) the NRA, regarding additional
 claims against the NRA relating to Lockton Affinity Series of Lockton Affinity, LLC and/or
 Kansas City Series of Lockton Companies, LLC that arose or may arise after the resolution of the
 matter styled National Rifle Association of America v. Lockton Affinity Series of Lockton Affinity,
 LLC and Kansas City Series of Lockton Companies, LLC, in the United States District Court for
 the Eastern District of Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

        45.      Produce the reports, communications, and other documents created by or
 exchanged between the NRA and any audit company that reviewed and/or audited (a) AMc’s
 records, (b) the NRA’s records pertaining to AMc, and/or (c) any of the NRA’s other vendors or
 contractors, from January 1, 2018 to the present.

         46.     Produce the communications between the NRA and third parties (including, but not
 limited to, the vendor(s), contractor(s), and company(ies) performing the audit(s)), concerning,
 referring, or relating to any audit the NRA requested for any of its other vendors or contractors
 from January 1, 2018 to the present.

        47.    Produce the documents and communications between the NRA and Forensic Risk
 Analysis concerning AMc.

         48.     Produce the communications between the NRA and Hallow from January 1, 2019
 to the present concerning, referring, or relating to AMc, North, and/or the North Contract.

        49.     Produce pictures of Hallow holding firearms.

         50.    Communications between (a) the NRA and (b) Phillips and Payne (whether jointly
 or individually) concerning, referring, or relating to AMc.

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        51.    Produce the documents, rules, and/or regulations evidencing or tending to support
 your requirements, mandates, instructions, directives, or other guidance provided to third parties
 concerning LaPierre’s private travel, transportation safety, and/or security needs


       52.     Produce the documents and communications evidencing and relating to the NRA’s
 payment for LaPierre’s private travel, transportation safety, and/or security needs, as referenced in
 Request No. 51 above.

         53.     Produce the documents relating to meetings between LaPierre and the NRA’s
 executive staff, including, but not limited to, Powell, from January 1, 2018 to the present, relating
 to the Lawsuit, the media, public relations, marketing or branding, AMc, the New York AG’s
 investigation into the NRA, Carter, Brewer, and/or the Brewer Firm.

         54.   Produce the documents and communications exchanged between Brewer and
 Powell, from January 1, 2018 to the present, relating to the Lawsuit, the media, public relations,
 marketing or branding, AMc, the New York AG’s investigation into the NRA, the New York AG,
 and/or the NRA’s tax exempt status.

         55.    Produce the documents and communications relating to the NRA’s self-correction
 and New York state law
             including, but not limited to, documents and communications evidencing and relating
 to the meetings of the NRA Board of Directors, the invoices that were converted to contracts, the
 compliance seminar(s), the review of the NRA’s business practices.

       56.     Produce the documents and communications exchanged with Brewer and the
 Brewer Firm relating to the NRA’s self-correction and New York state law


        57.     Produce the document preservation notice


        58.    Produce the documents and communications relating to the alleged statement by
 Lacey Duffy to The Wall Street Journal concerning LaPierre’s niece’s child marking the walls at
 the Four Seasons Hotel in Los Angeles,


       59.     Produce the documents relating to the NRA’s $1.8 million rental house in Los
 Angeles, California.

        60.     Produce the documents relating to the NRA’s investment in companies or
 opportunities in the Bahamas.

        61.     Produce the documents that reflect your relationship with the NRA Foundation.

       62.     Produce the documents relating to the transfer of funds from the NRA to the NRA
 Foundation from January 1, 2018 to the present.


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       63.      Produce the documents evidencing or relating to the transfer of funds from the NRA
 Foundation to the NRA from January 1, 2018 to the present.

       64.     Produce the documents and communications exchanged between (a) the NRA
 Foundation and (b) Brewer or the Brewer Firm.

       65.     Produce the documents and communications exchanged between the NRA
 Foundation and Carter.

      66.    Produce the documents and communications relating to payments made (a) by the
 NRA Foundation (b) to Brewer or the Brewer Firm.

       67.    Produce the documents and communications relating to any transactions between
 the NRA and the NRA Foundation, including, but not limited to, the $5 million loan provided by
 the NRA Foundation to the NRA


         68.    Produce the documents evidencing or relating to Powell’s and/or Brewer’s efforts,
 desires, attempts, directives, instructions, or other guidance concerning Hallow’s termination.

         69.    Produce the documents evidencing or relating to the NRA’s complaints about or
 against Powell, including any settlement agreements relating to same.

       70.    Produce the documents and communications relating to the claim by an NRA
 employee against Powell, including any settlement agreements relating to same,


        71.    Produce the documents and communications relating to Powell’s efforts or work
 with the Department of Financial Services in regard to New York State


        72.    Produce the documents and communications relating to “all of the compliance
 issues” Powell is handling or working on with the New York AG


         73.    Produce the documents evidencing your current relationship with Powell.

         74.     Produce the documents created, relied upon, submitted to third parties, or otherwise
 relating to any criminal investigation concerning, or conviction of, Powell, Hallow, and/or Phillips.

         75.    Produce all legal judgments against Powell.

         76.    Produce the documents that reflect your relationship with Stanton.

         77.    Produce the communications between LaPierre and Stanton.

         78.    Produce the communications between (a) Stanton and (b) Brewer or the Brewer
 Firm.


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        79.     Produce the communications and documents exchanged between (a) LaPierre and
 (b) Brewer or the Brewer Firm from January 1, 2017 to the present.

        80.     Produce Supernaugh’s file on LaPierre.

        81.    Produce the documents and communications relating to salary increases in 2018 for
 LaPierre and Hallow.

        82.     Produce the personnel files, including the severance agreements, for the individuals
 terminated and/or ousted from the NRA and its Board of Directors since January 1, 2018,
 including, but not limited to, Hart, Cox, Childress, Weaver, Cooper, Christman, and Volkov.

         83.     Produce the documents and communications evidencing and relating to the
 termination, ouster, and/or resignation of the following individuals, including, but not limited to,
 the documents and communications evidencing and relating to the decision for the termination,
 ouster, and/or resignation: Hart, Cox, Childress, Weaver, Cooper, Christman, and Volkov.

        84.     Produce the documents and communications evidencing and relating to any
 administrative leave for the following individuals: Hart, Cox, Childress, Weaver, Cooper,
 Christman, and Volkvok.

         85.     Produce the documents and communications evidencing and relating to the alleged
 coup                                                                        , including, but not
 limited to, the documents and communications provided to, by, or from Boren.

        86.     Produce the documents and communications created for, created by, sent to,
 received from, or otherwise exchanged between the NRA and the media relating to AMc.

        87.     Produce the documents and communications created for, created by, sent to,
 received from, or otherwise exchanged between the NRA and Carter relating to AMc, the media,
 the NRA, public relations services, marketing services, and/or branding services from January 1,
 2017 to the present.

         88.    Produce the documents and communications created for, created by, sent to,
 received from, or otherwise exchanged between (a) Brewer or the Brewer Firm and (b) the media
 relating to AMc and/or the NRA.

        89.     Produce the documents and communications created for, created by, sent to,
 received from, or otherwise exchanged between the media and Carter relating to AMc and/or the
 NRA.

        90.      Produce the communications between (a) the NRA and (b) Angus McQueen, Revan
 McQueen, Skye McQueen Brewer, and/or any other member of the McQueen and/or Brewer
 family/ies relating to Brewer’s engagement by the NRA, AMc, or the Lawsuit.

        91.     Produce the communications between (a) Angus McQueen, Revan McQueen, Skye
 McQueen Brewer, and/or any other member of the McQueen and/or Brewer family/ies, on the one
 hand, and (b) Brewer or the Brewer Firm, on the other hand, relating to AMc and/or the NRA.

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        92.    Produce the documents and communications relating to the whistleblower
 complaints of AMc’s alleged intentional disregard of annual budgets that the NRA’s Finance
 Committee oversaw and approved prior to Brewer’s involvement, as referenced in LaPierre’s
 correspondence to North on or around April 1, 2018.

        93.     Produce the documents and communications relating to the whistleblower
 complaints of concerns about “revolving door” hiring among the NRA and AMc, and ongoing ties
 between the NRA leadership and AMc leadership prior to Brewer’s involvement, as referenced in
 LaPierre’s correspondence to North on or around April 1, 2018.

         94.    Produce the documents and communications between (a) you and/or LaPierre, on
 the one hand, and (b) Stinchfield, on the other hand, concerning NRATV, AMc, and/or Angus
 McQueen, including, but not limited to, contracts for Stinchfield, documents evidencing or
 reflecting Stinchfield’s salary or other compensation, and/or documents evidencing payments
 made to Stinchfield.

        95.     Produce the documents and communications with third parties about Stinchfield,
 including, but not limited to, his involvement with NRATV, his involvement with AMc, his
 involvement with Angus McQueen, his contract(s), his salary or other compensation, and/or
 payments made by you (or any person or entity on your behalf) to Stinchfield.

        96.     Produce your internal documents and communications (about Stinchfield,
 including, but not limited to, his involvement with NRATV, his involvement with AMc, his
 involvement with Angus McQueen, his contract(s), his salary or other compensation, and/or
 payments made by you (or any person or entity on your behalf) to Stinchfield.

        97.      Produce the documents and communications with The Daily Beast, including but
 not limited to, Julia Arciga and including, but not limited to, documents relating to Stinchfield.

       98.    Produce the documents and communications evidencing or relating to total views,
 engaged views, and/or completed views for NRATV.

         99.     Produce the documents and communications concerning any financial valuations
 or projections relating to NRATV, including, but not limited to, documents evidencing or relating
 to costs of NRATV compared to other media services.

        100. Produce the documents and communications relating to the April 8, 2019 email
 from Arulanandam to AMc regarding NRATV metrics, including, but not limited to, drafts of the
 content of the email.

         101. Produce the documents and communications relating to Forensic Risk Analysis,
 including, but not limited to, communications with Susan Dillon or communications or documents
 referring or related to Susan Dillon.

         102. Produce the documents you reviewed and/or relied upon in responding to AMc’s
 First Set of Interrogatories.



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         103. In the first unnumbered paragraph of the Preliminary Statement of your Amended
 Complaint, you reference “newly unearthed text messages, emails, and interviews.” Produce
 the “text messages” and “emails” concerning, referring, or relating to this allegation and any notes,
 memoranda, or other documents that were prepared during or as a result of the referenced
 “interviews.”

        104. In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc “went to outrageous lengths to conceal and sustain its fraud.”
 Produce the documents displaying or tending to show the “outrageous lengths” you allege in this
 paragraph, from whatever time period you intended the allegation to encompass.

         105. In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc deployed “scorched-earth tactics against anyone who dared
 scrutinize its conduct.” Produce the documents displaying or tending to show the “scorched-
 earth tactics” you allege in this paragraph, from whatever time period you intended the allegation
 to encompass.

        106. In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc “tried to oust” LaPierre from the NRA. Produce the documents
 displaying or tending to show the efforts to “oust” LaPierre that you allege in this paragraph, from
 whatever time period you intended the allegation to encompass.

         107. In the second unnumbered paragraph of the Preliminary Statement to your
 Amended Complaint, you allege that “many within the NRA had grown suspicious that its
 experiment with a branded digital media platform was not working.” Produce the documents
 internal to the NRA that display or tend to show any such suspicions that you allege in this
 paragraph, from whatever time period you intended the allegation to encompass.

         108. In the third unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you claim that AMc’s representations regarding NRATV were “intentionally (and
 wildly) misleading.” Produce the communications, reports, articles, or any other document in
 your possession that supports this allegation, from whatever time period you intended the
 allegation to encompass.

       109. In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you claim that you have “acquired documents and information” showing that “AMc
 fraudulently double billed the NRA.” Produce the “documents” referenced in your allegation,
 from whatever time period you intended the allegation to encompass.

       110. In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you reference an “open letter” and quote language from an alleged “co-conspirator.”
 Produce a copy of this letter.

       111. In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that “AMc proceeded to ‘leak’ the threatened documents.” Produce the
 documents you are referencing in this allegation.



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         112. In the fifth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you reference “other failed client representations,” and allege that “many of these
 campaigns…were shut down because of their ineffectiveness, costliness, and [AMc’s]
 reluctance to provide specific performance data.” Produce the documents and communications
 that support this allegation.

        113. In Paragraph 19 of your Amended Complaint, you claim that AMc provided
 “elaborate assurances” relating to the accuracy, completeness, and security of various records.
 Produce a copy of the documents evidencing or tending to show these “elaborate assurances,” from
 whatever time period you intended the allegation to encompass.

         114. In Paragraphs 25 and 26 of your Amended Complaint, you attribute several direct
 quotes to Angus McQueen. Produce the communications, personal notes, memoranda, or any
 other documents that contain this quoted language or otherwise support the representations alleged
 in these paragraphs.

        115. In Paragraph 26 of your Amended Complaint, you allege that AMc “assured the
 NRA that its substantial investment would ‘pay for itself. . . within three years max.’” Produce
 the communications, personal notes, memoranda, or any other documents that contain this quoted
 language or otherwise support the representations alleged in this paragraph, from whatever time
 period you intended the allegation to encompass.

         116. In Paragraph 27 of your Amended Complaint, you allege that AMc represented that
 live programming was “‘the key’ to the success of the platform.” Produce the communications,
 personal notes, memoranda, or any other documents that contain this quoted language or otherwise
 support the representations alleged in this paragraph, from whatever time period you intended the
 allegation to encompass.

         117. In Paragraph 28 and 29 of your Amended Complaint, you reference thirteen
 “closed-door meetings . . . with Mr. LaPierre and sometimes others from the NRA leadership
 in attendance.” Produce the documents relating to, and notes (whether personal, collaborative,
 official, informal, formal, written, or electronic) taken during, these meetings by LaPierre or any
 other member of “NRA leadership” referenced in this allegation, from whatever time period you
 intended this allegation to encompass.

         118. In Paragraph 29 of your Amended Complaint, you allege that certain
 representations made by “Defendant Montgomery and others” are “now know to be false.”
 Produce the communications, reports, articles, or any other documents you rely upon to support
 this contention.

        119. In Paragraph 30 and throughout your Amended Complaint, you contend that
 “unique” or “distinct” viewership was a metric for evaluating NRATV performance that AMc
 should have provided. Produce the reports, communications, textbooks, treatises, or other
 documents you rely upon to support this contention.

        120. With regard to your contentions regarding “unique” or “distinct” viewership data,
 referenced in Request No. 119 above, produce the documents evidencing, containing, and relating


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 to this type of data, including, but not limited to, the request(s) you made to AMc for information
 requesting this type of data.

        121. In Paragraph 31 of your Amended Complaint, you reference “consistent inquiries
 of NRA leadership” to AMc relating to NRATV viewership. To the extent that these “inquiries”
 comprise documents that were not produced in response to Request No. 120 above, please produce
 the documents evidencing these “inquiries,” from whatever time period you intended the allegation
 to encompass.

         122. In Paragraph 31 of your Amended Complaint, you reference “underlying,
 unvarnished, fulsome metrics” that AMc “intentionally withheld from the NRA.” Produce the
 communications, articles, reports, or any other documents you rely upon to support your good-
 faith contention that there were “underlying, unvarnished, fulsome metrics” that AMc knew about
 and/or concealed.

        123. Produce the reports, analyses, communications, or any other written or electronic
 information provide to you by any third-party you hired to perform an independent analysis of
 NRATV viewership metrics at any time since 2016.

        124. In footnote 14 of Paragraph 37 of your Amended Complaint, you allege that AMc
 “hired a plethora of friends, family, and significant others for positions at NRATV for which
 they lacked the requisite qualifications and experience.” Produce the communications or other
 documents that support this contention, from whatever time period you intended the allegation to
 encompass.

         125. In Paragraph 36 of your Amended Complaint, you allege that AMc provided
 financial valuations that had “no basis in reality.” Produce the reports, analyses, articles, texts,
 treatises, communications, or any other documents you rely upon to support this contention.

         126. With regard to the above allegation from Paragraph 36 of your Amended Complaint
 (“no basis in reality”), produce the reports, analyses, or communications, whether internally to
 the NRA or from any third-party engaged for this purpose, reflecting any efforts to arrive at a more
 “realistic” valuation, including documents revealing what you contend that value should have been
 and the factual and methodical bases for arriving at any such conclusions.

         127. In Paragraph 39 of your Amended Complaint, you allege that the “NRA leadership
 requested greater directional control and coordination over the content of NRATV
 programming.” Produce the written or electronic documents and communications evidencing
 these requests, from whatever time period you intended the allegation to encompass.

        128. With regard to your requests for “greater directional control and coordination over
 the content of NRATV programming” in Paragraph 40 of your Amended Complaint, you allege
 that AMc “became increasingly secretive, hostile and determined to ‘protect’ its ‘economics’
 with the NRA.” Produce the communications, personal notes, memoranda, or any other
 documents that support this allegation, from whatever time period you intended the allegation to
 encompass.



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         129. In Paragraph 43 of your Amended Complaint, you allege that certain work
 performed for the American Clean Skies Foundation was an “unmitigated failure.” Produce the
 communications, reports, articles, or any other documents you relied upon in making this
 allegation.

         130. In Paragraph 46 of your Amended Complaint, you reference a New York Times
 article by Danny Hakim, which “reportedly reported” on NRATV viewership, to support your
 contention that AMc “overstated” certain representations regarding viewership. Aside from this
 news article, produce the other documents you relied upon in making this allegation.

        131. In Paragraph 47 of your Amended Complaint, you claim that you “updated [NRA]
 internal policies and controls” to reflect amendments to New York Not-for-Profit Corporation
 Law. Produce the version(s) of any such “internal policies and controls” that preceded the alleged
 update, and any version(s) that resulted from this updating process.

        132. In Paragraph 47 of your Amended Complaint, you claim that you “sent letters to
 more than a hundred vendors—including AMc—that set forth updated invoice-support
 requirements.” Produce a copy of each of these letters.

          133. In Paragraph 47 of your Amended Complaint, you claim that the NRA “undertook
 to strengthen its procedures for documentation and verification of compliance by vendors
 with their contracts.” Excluding the letters you produced in response to Request No. 132 above,
 produce the internal emails, memoranda, or other written or electronic communications and
 documents evidencing or tending to show these efforts, from whatever time period you intended
 this statement to encompass.

       134. In Paragraph 48 of your Amended Complaint, you allege that “numerous
 employees came forward with complaints about AMc.” Produce the internal emails,
 memoranda, or other written or electronic communications and documents evidencing these
 “complaints,” from whatever time period you intended this allegation to encompass.

         135. In Paragraph 51 of your Amended Complaint, you allege that AMc became
 “evasive and even hostile” in response to requests pursuant to the Records-Examination Clause
 of the Services Agreement. Produce the written or electronic communications and documents you
 received from AMc evidencing or tending to show the evasiveness or hostility you allege, from
 whatever time period you intended this allegation to encompass.

        136. In Paragraph 57 of your Amended Complaint, you allege that the NRA “was
 contacted with increasing frequency by journalists acting on purported ‘leaks’ relating to
 matters on which AMc had worked.” Produce the written or electronic communications and
 documents from any journalist to the NRA or to the Brewer Firm reflecting these requests, from
 whatever time period you intended this allegation to encompass.

         137. In Paragraph 63 of your Amended Complaint, you allege that there were six months
 of “back-and-forth” between AMc and the NRA regarding requests for the North Contract.
 Produce the written or electronic communications and documents evidencing or tending to show
 this “back-and-forth.”


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       138. In Paragraph 76 of your Amended Complaint, you allege that: “Discovery has
 corroborated one of the NRA’s worst fears” relating to AMc’s billing practices. Produce the
 documents from this “discovery” effort that you reference in this allegation.

         139. In Paragraph 89 of your Amended Complaint, you state that “AMc’s website
 falsely proclaims that NRATV is the ‘world’s most comprehensive video coverage of freedom-
 related news, events and culture.’” Produce the documents that you rely upon to support this
 contention, including evidence of other websites offering video coverage of freedom-related news,
 events, and culture, which you believe to be more comprehensive than NRATV.

       140. Produce the registration documents of any trademark that you claim has been
 misappropriated by AMc in Count One of your Amended Complaint.

         141. In Paragraph 100 of your Amended Complaint, you claim that Defendants engaged
 in “unauthorized and unlicensed words, statements, and/or use of NRA intellectual
 property.” Produce the documents that support this claim that were not already attached as an
 exhibit to your original or amended pleadings in this matter, if any.

         142. Produce the communications received by the NRA since June 25, 2019, evidencing
 or tending to show the consumer “confusion” you allege has occurred in this matter, as referenced
 in Count One of your Amended Petition.

         143.   Produce the media reports, social-media postings, or any other document published
 or created by anyone (other than you) since June 25, 2019, reflecting or supporting the existence
 of any consumer confusion you allege in Count One of your Amended Complaint.

        144. Produce the communications, reports, statements, or other documents evidencing
 or tending to support the “economic” or “financial” injuries that the NRA has suffered, as
 referenced in Count One, Paragraphs 99-100 of your Amended Complaint.

       145. Produce the communications, media reports, social-media postings, or any other
 documents evidencing or tending to support the “reputational” injury or “loss of goodwill” that
 the NRA has suffered, as referenced in Count One, Paragraphs 99-100 of your Amended
 Complaint.

       146. Produce the registration documents of any copyright that you claim has been
 misappropriated by AMc in Count Two of your Amended Complaint.

         147. For every copyright that you claim has been infringed by AMc in Count Two of
 your Amended Complaint, produce the documents that reflect or tend to support any economic or
 financial injury, including lost royalties or loss of market value, suffered by the NRA as a result.

      148. Produce the documents that reflect or tend to support damages you allege in your
 Amended Complaint.

        149. Produce documents reflecting each specific item of property owned or legally
 possessed by the NRA which you claim has been converted by AMc in Count Three of your


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 Amended Complaint, if such documents were not already attached as an exhibit to your original
 or amended pleadings in this matter.

         150. For every item that you claim was converted by AMc, produce the written or
 electronic communications and other documents reflecting your demand to AMc that the property
 be returned, and any response provided by AMc.

         151. In Paragraph 116 of your Amended Complaint, you state that you are seeking as
 damages the “total value” of each item you claim was converted by AMc. Produce the
 spreadsheets, statements, reports, or any other documents reflecting your computations, estimates,
 reports, or any other analysis of the “total value” of each item.

          152. In Paragraph 131 of your Amended Complaint, you state that AMc sent “sham
 bills” to the NRA. Produce the invoices, financial statements, or other “bills” from AMc that you
 contend were a “sham,” from whatever time period you intended the allegation to encompass.

         153. With regard to Request No. 152 above, produce the communications, reports,
 spreadsheets, financial statements, or any other documents evidencing or tending to support your
 allegation that AMc sent “sham bills” to the NRA.

        154. In Paragraph 131 of your Amended Complaint, you state that AMc sought
 reimbursements “in excess of the actual cost to AMc” in certain bills sent to the NRA. Produce
 the invoices, statements, or other “bills” from AMc that you contend sought these excessive
 reimbursements, from whatever time period you intended the allegation to encompass.

         155. With regard to Request No. 154 above, produce the communications, reports,
 spreadsheets, financial statements, or any other documents evidencing or tending to support your
 allegation that AMc sought reimbursements from the NRA “in excess of the actual cost to AMc.”

        156. In Paragraph 137 of your Amended Complaint, you attributed two quotes to
 Defendants (“a good opportunity to generate revenue” and “pay for itself”). Produce the
 communications, meeting notes, or other documents that directly or indirectly reflect these alleged
 quotes (whether separately or together).

        157. In Paragraph 138 of your Amended Complaint, you claim that the NRATV digital
 platform demonstrated “dismal” viewership numbers.           Produce the reports, articles,
 communications, or other documents that you rely upon to support this allegation.

         158. In Paragraph 148 of your Amended Complaint, you allege that AMc “billed the
 NRA for time logged by employees who were supposed to be fully ‘dedicated’ to the NRA.”
 Produce the communications, reports, or other documents that you rely upon to support this
 allegation.

        159. In Paragraph 148 of your Amended Complaint, you allege that AMc “often double-
 billed multiple clients for the same work.” Produce the communications, reports, or other
 documents that you rely upon to support this allegation.



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         160. In Paragraph 148 of your Amended Complaint, you allege that AMc “used
 equipment, billed to the NRA, for other clients’ projects.” Produce the communications,
 reports, or other documents that you rely upon to support this allegation.

        161. Produce the written or electronic requests for information relating to NRATV
 viewership analytics or performance metrics that you sent to AMc from 2015 through the
 beginning of this Lawsuit.

        162. With regard to the requests for information referenced in Request No. 161 above,
 produce the written or electronic communication or other documents you received from AMc in
 response.

     163.      Produce the documents evidencing, reflecting, or relating to your disapproval of
 NRATV.

        164. Produce the communications and other documents you allegedly sent to AMc
 concerning the intellectual property allegations contained in your Amended Complaint.

        165. Produce the contracts, communications, or other documents supporting your
 contention that Defendants AMc, Mercury, Montgomery, Winkler, Martin, and/or Greenberg
 was/were a fiduciary of the NRA.

         166. With regard to any third-party subpoenas issued by you in any legal action initiated
 by you against AMc since April 12, 2019, produce a copy of all documents received in response
 to such subpoena(s).

         167. With regard to the third-party subpoena(s) referenced in Request No. 166 above,
 produce the communications between the NRA and the subpoena recipient from May 23, 2019 to
 the present, irrespective of whether any documents were ultimately received from the subpoenaed
 party.

        168. If you contend that any AMc invoices violate Section II(A)(1) of the Services
 Agreement related to “Public Relations/Political Strategy/Strategic Marketing Services,” produce
 a copy of the invoices that support your contention.

        169. If you contend that any AMc invoices violate Section II(B)(1) of the Services
 Agreement related to “Advertising/Creative/Media Planning and Placement Services,” produce a
 copy of the invoices that support your contention.

        170. If you contend that any AMc invoices violate Section II(B)(2) of the Services
 Agreement related to “Advertising/Creative/Media Planning and Placement Services,” produce a
 copy of the invoices that support your contention.

        171. If you contend that any AMc invoices violate Section II(B)(3) of the Services
 Agreement related to “Advertising/Creative/Media Planning and Placement Services,” produce a
 copy of the invoices that support your contention.



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        172. If you contend that any AMc invoices violate Section II(C) of the Services
 Agreement related to “Owned Media and Internet Services,” produce a copy of the invoices that
 support your contention.

        173. If you contend that any AMc invoices violate Section II(D) of the Services
 Agreement related to “Digital Systems Operations Support,” produce a copy of the invoices that
 support your contention.

        174. If you contend that any AMc invoices violate Section II(E) of the Services
 Agreement related to “Other Projects,” produce a copy of the invoices that support your
 contention.

        175. If you contend that any AMc invoices violate Section III(A) of the Services
 Agreement related to reimbursement for expenses, produce a copy of the invoices that support
 your contention.

        176. If you contend that any AMc invoices violate Section III(B) of the Services
 Agreement related to Section III(D) of the Services Agreement related to billing for special
 assignments.

         177. Produce your communications with any employee or representative of Associated
 TV, Grassroots Behavioral Services, McKenna & Associates, LLC, and/or MMP referring or
 related to concerns or questions about their billing, contract compliance, lack of current contract,
 compliance with New York not-for-profit law, the audit of their records, or any other matter related
 to contract, financial, billing, or budgetary compliance from August 1, 2018, to the present.




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 Dated: December 20, 2019.

                                           Respectfully submitted,

                                           /s/ Brian E. Mason
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                                           ACKERMAN MCQUEEN, INC., MERCURY
                                           GROUP, INC., HENRY MARTIN, JESSE
                                           GREENBERG, WILLIAM WINKLER, AND
                                           MELANIE MONTGOMERY




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                                CERTIFICATE OF SERVICE

         I hereby certify that on December 20, 2019, I served the document on all counsel and/or
 pro se parties of record by a manner authorized by Federal Rules of Civil Procedure 5(b)(2).

                                            /s/ Brian E. Mason
                                            BRIAN E. MASON, ESQ.




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF                 §
   AMERICA,                                      §
                                                 §
           Plaintiff and Counter-Defendant       §
                                                 §
   and                                           §
                                                 §
   WAYNE LAPIERRE,                               §
                                                 §
           Third-Party Defendant,                §
                                                 §
   v.                                            § Civil Action No. 3:19-cv-02074-G
                                                 §
   ACKERMAN MCQUEEN, INC.,                       §
                                                 §
           Defendant and Counter-Plaintiff,      §
   and                                           §
                                                 §
   MERCURY GROUP, INC., HENRY                    §
   MARTIN, WILLIAM WINKLER,                      §
   MELANIE MONTGOMERY, and JESSE                 §
   GREENBERG,                                    §
                                                 §
           Defendants.                           §

         PLAINTIFF COUNTER-DEFENDANT’S OBJECTIONS AND RESPONSES
        TO DEFENDANT COUNTER-PLAINTIFF ACKERMAN MCQUEEN, INC.’S
                      FIRST REQUESTS FOR PRODUCTION

         Pursuant to Rule 34 of the Federal Rules of Civil Procedures, Plaintiff and Counter-

 Defendant National Rifle Association of America (“NRA”) submits its Objections and Responses

 to the First Request for Production (the “Requests”) of Defendant/Counter-Plaintiff Ackerman

 McQueen, Inc., (“Ackerman”), as follows:




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 AND RESPONSES TO DEFENDANT/COUNTER-PLAINTIFF
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                                                   I.

                                    GENERAL OBJECTIONS

        1.      The NRA’s responses to the Requests are not intended to waive, and do not

 constitute any waiver of, any objections which NRA may have to the admissibility of the

 information provided.     NRA reserves all objections regarding the relevance, materiality, or

 admissibility of any such information as evidence in this action or in any related proceeding.

        2.      The NRA reserves the right to supplement or amend these objections and responses

 due to, among other things, discovery of additional facts and materials and other developments or

 proceedings in this action. NRA reserves the right to make any use of, or introduce at any hearing

 and at trial, information and documents otherwise responsive to the Requests that may be

 discovered subsequent to the date of these initial responses.

        3.      The NRA objects to Instruction No. 5 on the basis that the instructions listed are

 more appropriate for interrogatories, outside the scope of Rule 34 of the Federal Rules of Civil

 Procedure, and, therefore, are unduly burdensome.

        4.      The NRA objects to Instruction No. 6 on the grounds that exceeds the applicable

 requirements for the creation of a privilege log. The NRA will follow Rule 26 of the Federal Rules

 of Civil Procedure for the creation of a privilege log.

        5.      The NRA objects to Instruction No. 7 because it assumes that the NRA would be

 able to “indicat[e] which portion of such Document is not or cannot be produced and the reason

 and, therefore, objects that it is not proportional to needs of the case, overbroad, and unduly

 burdensome.

        6.      The NRA objects to Instruction No. 8 on the ground that making an all native

 production of documents is unduly burdensome, presents difficulties searching, organizing and

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 AND RESPONSES TO DEFENDANT/COUNTER-PLAINTIFF
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 printing such documents, and for these reasons is not proportional to the needs of the case. Such

 productions are not common or appropriate for large commercial litigation like the case at bar.

 The NRA recommends that the parties meet and confer to discuss production format issues. The

 NRA will produce documents in the format attached to its First Request of Product of Documents

 to Defendants. The NRA will agree, however, to produce Excel spreadsheets in native format.

        7.      The NRA objects to the inclusion of Mr. Brewer, the Brewer Firm, and other

 attorneys in the definition of “NRA.” Such inclusion would only cause vagueness, ambiguity, and

 confusion, particularly as the definitions section identifies specific Brewer attorneys, including

 “Brewer, Brewer IV, Collins, and McKenney”. For these reasons, the NRA will interpret “NRA”

 as not including the above individuals and the Brewer Firm and will treat them as separate

 identities, consistent with Defendant’s own definition section.

        8.      The NRA objects to each and every definition, instruction and request for

 production to the extent it seeks information protected by the attorney-client privilege, the work-

 product doctrine, the common-interest defense doctrine, or any other evidentiary privilege

 available under the applicable law. The inadvertent disclosure of any information subject to such

 privileges and protections is not intended to relinquish any privilege or protection and shall not be

 deemed to be a waiver of any applicable privilege or protection.

        9.      The NRA objects to the time period included in the definition section, which is

 January 1, 2007. The NRA has for the most part requested documents from the NRA from January

 1, 2015, through the present to encompass the entire period of liability. Absent agreement by the

 parties or order by the Court as to the temporal scope of discovery, the document production

 process will inevitably become burdensome, not proportional to the needs of the case, or otherwise



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 disproportionate and unwieldy. Until this matter is resolved, the NRA reserves the right to produce

 documents post-dating Defendants’ proposed temporal scope of discovery.

                                                  II.

                          SPECIFIC OBJECTIONS AND RESPONSES

 REQUEST FOR PRODUCTION NO. 1:

         Produce the documents and communications evidencing and relating to Brewer’s
 knowledge that his father-in-law, Angus McQueen, was suffering from a terminal illness,
 including, but not limited to, documents and communications demonstrating when Brewer learned
 of the same.

 RESPONSE:

        The NRA objects to this request as harassing, because it seeks documents that have

 nothing to do with the claims and defenses in this case. Brewer’s knowledge about his father-in-

 law’s illness has no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract. The NRA

 stands on its objections.


 REQUEST FOR PRODUCTION NO. 2:

        Produce the documents and communications evidencing and relating to when any
 executive of the NRA learned that Brewer's father-in-law, Angus McQueen, was suffering from a
 terminal illness.

 RESPONSE:

        The NRA objects to this request as harassing, because it seeks documents that have

 nothing to do with the claims and defenses in this case. Documents concerning the point in time

 when an NRA executive knew about Mr. McQueen’s illness have no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


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 REQUEST FOR PRODUCTION NO. 3:

        Produce the documents and communications relating to Angus McQueen’s terminal illness
 and passing.

 RESPONSE:

        The NRA objects to this request as harassing, because it seeks documents that have

 nothing to do with the claims and defenses in this case. Documents concerning Mr. McQueen’s

 illness and unfortunate passing have no bearing on the claims and defenses at issue in this case,

 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 4:

       Produce a copy of the current version, and any previous drafts of, the engagement letter
 between the Brewer Firm and the NRA.

 RESPONSE:

        The NRA objects to this request because it seeks documents that have no connection to

 the claims and defenses in this case. A “current version” of “the engagement letter” or “any

 previous drafts” have no bearing on the claims and defenses at issue in this case, including

 AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of contract. The

 NRA also objects to this request on the basis that it seeks documents protected by the attorney-

 client privilege, work product doctrine, and any other privilege or exemption for discovery,

 particularly with respect to the request for drafts of “the current version.” The NRA stands on its

 objections.


 REQUEST FOR PRODUCTION NO. 5:




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        Produce the documents and communications relating to the Brewer Firm’s billing,
 including, but not limited to (a) the billing statements or invoices issued by the Brewer Firm to the
 NRA for all work done on behalf of the NRA from January 1, 2017 through present; (b) the
 payment of the billing statements or invoices.

 RESPONSE:

        The NRA objects to this request because billing information of the Brewer Firm and

 payments made thereto have no bearing on the claims and defenses at issue in this case, including

 AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of contract. The

 NRA also objects to this request on the basis that it seeks documents protected by the attorney-

 client privilege, work product doctrine, and any other privilege or exemption for discovery, as it

 is common for billing statements to include descriptions of work performed that would reveal

 protected information. In addition, the request is overbroad and unduly burdensome because it

 requests all billing information for the multiple matters the Brewer Firm has or is handling for the

 NRA. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 6:

        Produce the documents and communications received by the NRA relating to the retention
 and engagement of Brewer and the Brewer Firm by the NRA.

 RESPONSE:

        The NRA objects to this request because it seeks documents concerning “the retention”

 of Mr. Brewer or of the Brewer Firm that have no bearing on the claims and defenses at issue in

 this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach

 of contract. The NRA also objects to this request to the extent that it seeks documents protected

 by the attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. In addition, the request is overbroad and unduly burdensome because it arguably


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 requests such documents for each and every matter in which Mr. Brewer and the Brewer Firm

 represented the NRA. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 7:

          Produce the PowerPoint presentations presented by the Brewer Firm to the NRA, the NRA
 Board of Directors, and/or North relating to the New York AG, the NRA non-profit status,
 litigation with Lockton, litigation with AMc or other NRA related vendors, or conflicts.

 RESPONSE:

        The NRA also objects to this request to the extent that it seeks documents protected by

 the attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery, as the requested materials directly seek the presentations made by outside counsel for

 the NRA to the NRA and/or the members of its Board of Directors. In addition, the NRA objects

 to this request as harassing because it seeks documents concerning the New York AG, the NRA

 non-profit status, litigation with Lockton, or conflicts that have no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 8:

        Produce the PowerPoint presentation presented by Brewer to LaPierre, North, and others
 regarding conflicts of interest within the NRA as discussed during North’s December 18, 2019.

 RESPONSE:

        The NRA objects to this request because it is unclear what is referenced when

 Defendant’s use the words “North’s December 18, 2019.” The NRA further objects to this

 request on the basis that it seeks documents protected by the attorney-client privilege, work

 product doctrine, and any other privilege or exemption for discovery, as the requested materials



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 directly seek the presentations made by outside counsel for the NRA to the NRA or the members

 of its Board of Directors. In addition, the NRA objects to this request because it seeks

 documents that have no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract. The NRA

 stands on its objections.


 REQUEST FOR PRODUCTION NO. 9:

        Produce the documents and communications exchanged between (a) the NRA and
 (b) Brewer or the Brewer Firm from January 1, 2017 to the present.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery, as the request seeks communications directly between the NRA and its outside

 counsel. In addition, the NRA objects to this request because communications between the NRA

 and Mr. Brewer and the Brewer Firm have no bearing on the claims and defenses at issue in this

 case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 10:

       Produce the documents and communications relating to any conflict or conflict of interest
 between (a) the NRA and (b) Brewer or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. In addition, the NRA objects to this request because whether or not there is a conflict


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 of interest between (a) the NRA and (b) Brewer or the Brewer Firm has no bearing on the claims

 and defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 11:

       Produce the documents and communications sent to, received from, or otherwise
 exchanged between (a) Arulanandam and (b) Brewer or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. In addition, the NRA objects to this request because it seeks all documents and

 communications between an NRA employee and Mr. Brewer and the Brewer law firm, the vast

 majority of which will have no bearing on the claims and defenses at issue in this case, including

 AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of contract, and

 will impose unnecessary costs and expenses to the NRA. Accordingly, the request is overbroad

 and unduly burdensome. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 12:

         Produce the documents and communications relating to any “vetting” or examination of
 the Brewer Firm’s legal bills or invoices performed by (a) the NRA’s Treasurer’s office and/or
 (b) the NRA’s General Counsel, [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA also objects to this request



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 to the extent that it seeks documents protected by the attorney-client privilege, work product

 doctrine, and any other privilege or exemption for discovery, because the request on its face asks

 for the legal analysis and opinion of the NRA General Counsel’s office and any other counsel

 that performed the alleged “vetting.” In addition, the NRA objects to this request because

 whatever “vetting” occurred has no connection to the claims at issue in this case. The NRA

 stands on its objections.


 REQUEST FOR PRODUCTION NO. 13:

        Produce a copy of the presentations provided by the Brewer Firm to the NRA’s Board of
 Directors [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA also objects to this request

 on the basis that it seeks documents protected by the attorney-client privilege, work product

 doctrine, and any other privilege or exemption for discovery, as the request effectively seeks an

 attorney-client privileged communication between the NRA Board of Directors and Mr. Brewer.

 In addition, the NRA objects to this request because it is immaterial to AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. The NRA stands on its

 objections.


 REQUEST FOR PRODUCTION NO. 14:

        Produce the documents and communications relating to WBB Investments, LLC.




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 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 15:

         Produce the NRA’s policies and procedures regarding contracts, including, but not limited
 to, negotiation of contracts, payment pursuant to contracts, who has authority to execute contracts,
 retention of contract documents, and termination of contracts.

 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 16:

        Produce the documents and communications relating to the NRA’s requirement that its
 Board of Directors approve all NRA contracts, expenses, and other expenditures or transactions in
 excess of $100,000 [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in the

 ongoing Virginia actions between the parties by improperly disclosing information deemed by the

 NRA as “Confidential” under the Protective Order. The NRA also objects to this request to the

 extent that it seeks documents protected by the attorney-client privilege, work product doctrine,

 and any other privilege or exemption for discovery. The NRA stands on its objections.

 REQUEST FOR PRODUCTION NO. 17:




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         Produce the documents and communications relating to all contracts retroactively approved
 and/or ratified by the NRA Board of Directors that were executed by LaPierre on behalf of the NRA
 from January 1, 2017 to the present [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in the

 ongoing Virginia actions between the parties by improperly disclosing information deemed by the

 NRA as “Confidential” under the Protective Order. The NRA also objects to this request on the

 basis that it seeks documents protected by the attorney-client privilege, work product doctrine, and

 any other privilege or exemption for discovery. The NRA stands on its objections.

 REQUEST FOR PRODUCTION NO. 18:

        Produce a copy of the September 2018 contract between the NRA and Hammer.

 RESPONSE:

        The NRA objects to this request because the “September 2018 contract between the NRA

 and Hammer” has no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract. The NRA also

 objects to this request on the basis that it seeks documents protected by the attorney-client

 privilege, work product doctrine, and any other privilege or exemption for discovery. The NRA

 stands on its objections.

 REQUEST FOR PRODUCTION NO. 19:

         Produce the documents and communications relating to the September 2018 contract
 between the NRA and Hammer, including, but not limited to, (a) approval and/or ratification of
 that contract by the NRA’s Board of Directors, (b) invoices, and (c) other documents evidencing,
 describing, and relating to the work Hammer performed, is performing, and/or has promised to
 perform for the NRA.

 RESPONSE:




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        The NRA objects to this request because the “documents and communications relating to

 the September 2018 contract between the NRA and Hammer, including, but not limited to, (a)

 approval and/or ratification of that contract by the NRA’s Board of Directors, (b) invoices, and (c)

 other documents evidencing, describing, and relating to the work Hammer performed, is

 performing, and/or has promised to perform for the NRA” have no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA also objects to this request to the extent that it

 seeks documents protected by the attorney-client privilege, work product doctrine, and any other

 privilege or exemption for discovery. The NRA stands on its objections.

 REQUEST FOR PRODUCTION NO. 20:

         Produce LaPierre’s personal notes, whether handwritten, typed, voice-recorded, or reduced
 to any other medium, that concern, refer, or relate to meetings with AMc from January 2016 to the
 present.

 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. Subject to and without waiving the foregoing objections and its General Objections,

 the NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 21:

       Produce the communications exchanged between (a) the NRA, Brewer, and/or the Brewer
 Firm and (b) any current or former employee or representative of the American Clean Skies
 Foundation since January 1, 2019.




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 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 22:

       Produce the communications between (a) Hakim and (b) the NRA, Brewer, and/or the
 Brewer Firm from January 1, 2019 to June 25, 2019.

 RESPONSIVE:

        The NRA objects to this request because communications between “(a) Hakim and (b)

 the NRA, Brewer, and/or the Brewer Firm” have no bearing on the claims and defenses at issue

 in this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or

 breach of contract. The NRA also objects to this request to the extent that it seeks documents

 protected by the attorney-client privilege, work product doctrine, and any other privilege or

 exemption for discovery, particularly with respect to communications with the Brewer Firm.

 The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 23:

        Produce the documents submitted to, and communications with, the New York AG
 concerning (a) your tax-exempt status and the New York AG’s investigation of same and (b) your
 response to its subpoena issued to you in December 2019.

 RESPONSE:

        The NRA objects to this request as harassing. The request for “documents submitted to,

 and communications with, the New York AG concerning (a) your tax exempt status and the New

 York AG’s investigation of same and (b) your response to its subpoena issued to you in December



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 2019” is nothing more than an improper fishing expedition and has no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. No reasonable basis exits to suggest that the documents

 requested would be needed to prove the elements of your claims. The NRA also objects to this

 request to the extent that it seeks documents protected by the attorney-client privilege, work

 product doctrine, and any other privilege or exemption for discovery. The NRA stands on its

 objections.

 REQUEST FOR PRODUCTION NO. 24:

        Produce the communications between (a) the NRA, Brewer, and/or the Brewer Firm and
 (b) Payne from January 1, 2019 to the present.

 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.

 REQUEST FOR PRODUCTION NO. 25:

         Produce the communications between (a) Grable, D. Robinson, Phillips, and/or Crew, on
 the one hand (whether jointly or individually), and (b) any other person at the NRA, on the other
 hand, relating to the meeting with AMc that occurred on October 30, 2018.

 RESPONSE:

        The NRA objects to this request as overbroad and unduly burdensome, as it requests all

 “communications between (a) Grable, D. Robinson, Phillips, and/or Crew, on the one hand

 (whether jointly or individually), and (b) any other person at the NRA, on the other hand, relating

 to the meeting with AMc that occurred on October 30, 2018.” The NRA also objects to this request

 to the extent that it seeks documents protected by the attorney-client privilege, work product



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 doctrine, and any other privilege or exemption for discovery. Subject to the foregoing objections

 and the General Objections, the NRA shall produce non-privileged, non-objectionable, responsive

 documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 26:

         Produce the reports, analyses, notes, and other documents prepared by Grable, D.
 Robinson, Crew, and Phillips (whether jointly or individually) on or after October 30, 2018,
 relating to NRATV viewership analytics or otherwise prepared at or as a result of the meeting with
 AMc that occurred on October 30, 2018.

 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 27:

        Produce the documents and communications relating to the NRA’s concern that AMc was
 publicly revealing confidential information [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA also objects to this request

 to the extent that it seeks documents protected by the attorney-client privilege, work product

 doctrine, and any other privilege or exemption for discovery. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 28:

         Produce the documents and communications relating to the NRA’s decision, or decisions
 made on behalf of the NRA, to publicly reveal information about the Lawsuit, the claims or defenses
 in the Lawsuit, and/or AMc.


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 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. In addition, the request seeks information that has no bearing on the elements of your

 defenses and claims for libel, declaratory relief, tortious interference, and/or breach of contract.

 The NRA stands on its objections.

 REQUEST FOR PRODUCTION NO. 29:

        The NRA’s corporate entity chart.

 RESPONSE:

        The NRA objects to this request because the “NRA’s corporate entity chart” has no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. The NRA also objects to this

 request to the extent that it seeks documents protected by the attorney-client privilege, work

 product doctrine, and any other privilege or exemption for discovery. The NRA stands on its

 objections.

 REQUEST FOR PRODUCTION NO. 30:

        The NRA Foundation’s entity chart.

 RESPONSE:

        The NRA objects to this request because the “NRA Foundation’s entity chart” has no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. The NRA also objects to this

 request to the extent that it seeks documents protected by the attorney-client privilege, work




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 product doctrine, and any other privilege or exemption for discovery. The NRA stands on its

 objections.

 REQUEST FOR PRODUCTION NO. 31:

        Produce the communications between the NRA and Sloan from January 1, 2018 to the
 present that mention AMc, any employee or representative of AMc, or any project of AMc.

 RESPONSE:

        The NRA objects to this because the “communications between the NRA and Sloan from

 January 1, 2018 to the present that mention AMc, any employee or representative of AMc, or any

 project of AMc” have no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract. The NRA also

 objects to this request to the extent that it seeks documents protected by the attorney-client

 privilege, work product doctrine, and any other privilege or exemption for discovery. The NRA

 stands on its objections.

 REQUEST FOR PRODUCTION NO. 32:

        Produce the communications, notes, and other documents prepared by Phillips, Spray, and
 Powell referring or relating to, or otherwise prepared for, budget meetings with AMc.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. Subject to and without waiving the foregoing objections and its General Objections,

 the NRA shall produce non-privileged, non-objectionable responsive documents at a mutually

 agreeable time and place.

 REQUEST FOR PRODUCTION NO. 33:




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       Produce the communications, notes, and other documents evidencing the NRA’s approval
 of AMc’s annual budget from 2016 to 2019.

 RESPONSE:

        The NRA objects to this request on the basis that it is overbroad, ambiguous, and unduly

 burdensome, as it requests all “communications, notes, and other documents evidencing the

 NRA’s approval of AMc’s annual budget from 2016 to 2019.” The NRA also objects to this

 request to the extent that it seeks documents protected by the attorney-client privilege, work

 product doctrine, and any other privilege or exemption for discovery. Subject to and without

 waiving the foregoing objections and its General Objections, the NRA shall produce non-

 privileged, non-objectionable responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 34:

        Produce the communications, notes, and other documents prepared by Phillips, Grable, and
 Powell (whether jointly or individually) referring or relating to, or otherwise prepared for, meetings
 with AMc regarding NRATV analytics.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks documents protected by the

 attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. Subject to and without waiving the foregoing objections and its General Objections,

 the NRA shall produce non-privileged, non-objectionable responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 35:

         Produce the minutes from meetings of the NRA Board of Directors from January 2016 to
 the present, including any notes concerning, referring, or otherwise relating to AMc, North, the
 North Contract, North’s requests for the NRA to audit/review the Brewer Firm’s invoices/billing



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 records to the NRA, Loesch, the Loesch Contract, LaPierre, the New York AG’s investigation into
 the NRA, Brewer, and/or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request because “the New York AG’s investigation into the

 NRA, Brewer, and/or the Brewer Firm” has no bearing on the claims and defenses at issue in this

 case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA also objects to this request to the extent that it seeks documents protected by

 the attorney-client privilege, work product doctrine, and any other privilege or exemption for

 discovery. The NRA further objects on the ground that the request is overbroad and unduly

 burdensome. Subject to and without waiving the foregoing objections and its General

 Objections, the NRA shall produce non-privileged, non-objectionable documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 36:

        Produce the reports from the NRA Audit Committee from January 1, 2017 to the present,
 including, but not limited to, the reports regarding AMc, the North Contract, Brewer, the Brewer
 Firm, North, Loesch, the Loesch Contract, NRA vendors, the New York AG, and/or the NRA’s
 compliance with non-profit laws.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome, and as it seeks all “reports from the NRA Audit Committee from January 1, 2017,

 to the present” on a wide array of subjects. For instance, the request asks for irrelevant

 documents that are nowhere near proportional to the needs of the case as to the request for

 reports regarding the “New York AG,” which have no bearing on the claims and defenses at

 issue in this case, including AMc’s claims for libel, declaratory relief, tortious interference,


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 and/or breach of contract. The NRA also objects to this request to the extent that it seeks

 documents protected by the attorney-client privilege, work product doctrine, and any other

 privilege or exemption for discovery, particularly as to any reports prepared for or at the

 direction of Brewer or the Brewer Firm. Subject to the foregoing objections and its General

 Objections, the NRA will produce non-privileged, non-objectionable reports from the NRA

 Audit Committee from January 1, 2017 to the present concerning AMc, the North Contract,

 North, Loesch, the Loesch, and NRA vendors.


 REQUEST FOR PRODUCTION NO. 37:

         Produce the documents and communications relating to the requirements under New York
 state law that the NRA Audit Committee must see and/or review the North Contract before it could
 be finally approved by the NRA.

 RESPONSE:

        The NRA specifically objects to this request to the extent it seeks documents protected

 from disclosure by the attorney-client privilege, the work product doctrine, or any other

 applicable exemption, immunity, or privilege from discovery. The NRA further objects to this

 request on the grounds that it is overbroad and unduly burdensome to the extent that it purports

 to require the NRA to gather and produce copies of publicly available documents which are

 equally accessible to Defendants as to the NRA. Subject to and without waiving the foregoing

 objections and its General Objections, the NRA shall produce non-privileged, non-objectionable

 responsive documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 38:

         Produce the documents and communications relating to the idea for, negotiation of, drafting
 of, and suspension or furlough of the North Contract and the Loesch Contract.



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 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. Subject to and without waiving the foregoing

 objections and its General Objections, the NRA shall produce non-privileged, non-objectionable

 responsive documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 39:

         Produce the documents and communications relating to North’s request that the NRA audit
 or review the Brewer Firm’s bills or invoices.

 RESPONSE:

        The NRA objects to this request because the facts surrounding what the Brewer firm

 charges the NRA for its legal services have no bearing whatsoever to AMc’s claims, including its

 claims for libel, declaratory relief, tortious interference, and/or breach of contract, and any

 defenses. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 40:

         Produce the documents and communications relating to Cummins’ concerns or issues
 raised to the NRA’s Audit Committee about Brewer and/or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request because Ms. Cummings’ alleged concerns about the

 Brewer Firm have no relevance to the claims and defenses at issue in this litigation, including

 Defendants’ claims for libel, declaratory relief, tortious interference, and/or breach of contract,

 and the NRA’s claims and defenses. The NRA stands on its objections.




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 REQUEST FOR PRODUCTION NO. 41:

       Produce the documents and communications between (a) Cotton and (b) Brewer, the
 Brewer Firm, LaPierre, and/or Powell.

 RESPONSE:

        The NRA objects to this request on the grounds that it is vague, overly broad, and unduly

 burdensome, in that it seeks all “documents and communications between (a) Cotton and (b)

 Brewer, the Brewer Firm, LaPierre, and/or Powell,” no matter what the subject matter.

 Additionally, the NRA objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery, particularly as to those documents regarding

 Brewer and the Brewer Firm. Subject to and without waiving the foregoing objections and its

 General Objections, the NRA shall produce non-privileged, non-objectionable responsive

 documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 42:

        Produce a copy of the fully executed settlement agreement with the NRA that resolved the
 matter styled National Rifle Association of America v. Lockton Affinity Series of Lockton Affinity,
 LLC and Kansas City Series of Lockton Companies, LLC, in the United States District Court for
 the Eastern District of Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

 RESPONSE:

        The NRA objects on the grounds that the requested documents have no connection to the

 subject matter of this litigation and have no bearing on the claims and defenses at issue in this

 case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. AMc is again off on a fishing expedition. Furthermore, the executed settlement




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 agreement referenced in this request is subject to confidentiality requirements. The NRA stands

 on its objections.


 REQUEST FOR PRODUCTION NO. 43:

        Produce the documents evidencing and relating to attorneys’ fees and other monies Brewer
 or the Brewer Firm requested and/or received in relation to the matter styled National Rifle
 Association of America v. Lockton Affinity Series of Lockton Affinity, LLC and Kansas City Series
 of Lockton Companies, LLC, in the United States District Court for the Eastern District of
 Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

 RESPONSE:

        The NRA objects on the grounds that the requested documents have no bearing on the

 claims and defenses at issue in this case, including AMc’s claims for libel, declaratory relief,

 tortious interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 44:

         Produce the contract(s), agreement(s), or other documents evidencing the understanding(s)
 between (a) Brewer or the Brewer Firm and (b) the NRA, regarding additional claims against the
 NRA relating to Lockton Affinity Series of Lockton Affinity, LLC and/or Kansas City Series of
 Lockton Companies, LLC that arose or may arise after the resolution of the matter styled National
 Rifle Association of America v. Lockton Affinity Series of Lockton Affinity, LLC and Kansas City
 Series of Lockton Companies, LLC, in the United States District Court for the Eastern District of
 Virginia, Civil Action No. 1:18-cv-639-LO/JFA.

 RESPONSE:

        The NRA objects on the grounds that the requested documents have no bearing on the

 claims and defenses at issue in this case, including AMc’s claims for libel, declaratory relief,

 tortious interference, and/or breach of contract. AMc is again off on a fishing expedition.

 Furthermore, the executed settlement agreement referenced in this request is subject to

 confidentiality requirements. The NRA stands on its objections.




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 REQUEST FOR PRODUCTION NO. 45:

        Produce the reports, communications, and other documents created by or exchanged
 between the NRA and any audit company that reviewed and/or audited (a) AMc’s records, (b) the
 NRA’s records pertaining to AMc, and/or (c) any of the NRA’s other vendors or contractors, from
 January 1, 2018 to the present.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome, and fails to describe with reasonable particularity the documents requested because

 it seeks all “reports, communications, and other documents created by or exchanged between the

 NRA and any audit company that reviewed and/or audited (a) AMc’s records, (b) the NRA’s

 records pertaining to AMc, and/or (c) any of the NRA’s other vendors or contractors, from

 January 1, 2018 to the present.” The NRA also objects to this request to the extent it seeks

 documents protected from disclosure by the attorney-client privilege, the work product doctrine,

 or any other applicable exemption, immunity, or privilege from discovery, particularly with

 regards to any information provided at the request or direction of counsel. Subject to and

 without waiving the foregoing objections and its General Objections, the NRA shall produce

 non-privileged, non-objectionable responsive documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 46:

          Produce the communications between the NRA and third parties (including, but not limited
 to, the vendor(s), contractor(s), and company(ies) performing the audit(s)), concerning, referring,
 or relating to any audit the NRA requested for any of its other vendors or contractors from January
 1, 2018 to the present.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome, and fails to describe with reasonable particularity the documents requested because



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 it seeks all “communications between the NRA and third parties (including, but not limited to, the

 vendor(s), contractor(s), and company(ies) performing the audit(s)), concerning, referring, or

 relating to any audit the NRA requested for any of its other vendors or contractors from January

 1, 2018 to the present.” Additionally, the NRA objects to this request to the extent it seeks

 documents protected from disclosure by the attorney-client privilege, the work product doctrine,

 or any other applicable exemption, immunity, or privilege from discovery. Subject to and

 without waiving the foregoing objections and its General Objections, and following a reasonable

 search, the NRA shall produce non-objectionable, non-privileged responsive documents, at a

 reasonable time and place.


 REQUEST FOR PRODUCTION NO. 47:

        Produce the documents and communications between the NRA and Forensic Risk Analysis
 concerning AMc.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad, unduly

 burdensome, and fails to describe with reasonable particularity the documents requested because

 it seeks all “documents and communications between the NRA and Forensic Risk Analysis

 concerning AMc.” Additionally, the NRA objects to this request to the extent it seeks documents

 protected from disclosure by the attorney-client privilege, the work product doctrine, or any

 other applicable exemption, immunity, or privilege from discovery. Furthermore, the documents

 requested were addressed by the Virginia Circuit court in the separate action between the NRA

 and AMc, wherein the court held that all opinion work product and attorney-client

 communications were to be protected from disclosure. In addition, you already have received

 this information yourself via a subpoena to FRA. The NRA stands on its objections.

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 REQUEST FOR PRODUCTION NO. 48:

        Produce the communications between the NRA and Hallow from January 1, 2019, to the
 present concerning, referring, or relating to AMc, North, and/or the North Contract.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome and fails to describe with reasonable particularity the documents requested because

 it seeks all “communications between the NRA and Hallow from January 1, 2019 to the present

 concerning, referring, or relating to AMc, North and/or the North Contract.” The NRA also

 objects to this request to the extent it seeks documents protected from disclosure by the attorney-

 client privilege, the work product doctrine, or any other applicable exemption, immunity, or

 privilege from discovery. Subject to and without waiving the foregoing objections and its

 General Objections, the NRA shall produce non-objectionable, responsive documents, at a

 reasonable time and place.


 REQUEST FOR PRODUCTION NO. 49:

        Produce pictures of Hallow holding firearms.

 RESPONSE:

        The NRA objects to this request it seeks documents that have no bearing on the claims

 and defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 50:

        Communications between (a) the NRA and (b) Phillips and Payne (whether jointly or
 individually) concerning, referring, or relating to AMc.




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 RESPONSE:

        The NRA objects to this request as intentionally overbroad and unduly burdensome, as it

 seeks all communications between the NRA and Phillips and Payne, without any limitation as to

 time or subject other than concerning AMc. Subject to and without waiving the foregoing

 objections and its General Objections, and following a reasonable search, the NRA shall produce

 non-privileged, non-objectionable, responsive documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 51:

        Produce the documents, rules, and/or regulations evidencing or tending to support your
 requirements, mandates, instructions, directives, or other guidance provided to third parties
 concerning LaPierre’s private travel, transportation safety, and/or security needs [OMITTED].

 RESPONSE:

        The NRA objects to this request because this request violates the Protective Order

 entered into in the ongoing Virginia actions between the parties by improperly disclosing

 information deemed by the NRA as “Confidential” under the Protective Order. The NRA also

 objects to this request on the grounds that it is overly broad and unduly burdensome, and fails to

 describe with reasonable particularity the documents requested because it seeks all “the

 documents, rules, and/or regulations evidencing or tending to support your requirements,

 mandates, instructions, directives, or other guidance provided to third parties concerning

 LaPierre’s private travel, transportation safety, and/or security needs,” without any time

 limitation. The NRA also objects to this request because it seeks documents and information that

 have no bearing on the claims and defenses at issue in this case, including AMc’s claims for

 libel, declaratory relief, tortious interference, and/or breach of contract. Subject to and without

 waiving the foregoing objections and the General Objections, and following a reasonable search,


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 the NRA shall produce non-privileged, non-objectionable, responsive documents, at a reasonable

 time and place.


 REQUEST FOR PRODUCTION NO. 52:

        Produce the documents and communications evidencing and relating to the NRA’s payment
 for LaPierre’s private travel, transportation safety, and/or security needs, as referenced in Request
 No. 51 above.

 RESPONSE:

        The NRA objects to this request as it seeks documents and information that have no

 bearing whatsoever on the claims and defenses at issue in this case, including AMc’s claims for

 libel, declaratory relief, tortious interference, and/or breach of contract. Subject to and without

 waiving the foregoing objections and its General Objections, the NRA shall produce non-

 privileged, non-objectionable, responsive documents, at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 53:

          Produce the documents relating to meetings between LaPierre and the NRA’s executive
 staff, including, but not limited to, Powell, from January 1, 2018 to the present, relating to the
 Lawsuit, the media, public relations, marketing or branding, AMc, the New York AG’s
 investigation into the NRA, Carter, Brewer, and/or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome, and fails to describe with reasonable particularity the documents requested because

 it seeks all “documents relating to meetings between LaPierre and the NRA’s executive staff,

 including, but not limited to, Powell, from January 1, 2018, to the present, relating to the

 Lawsuit, the media, public relations, marketing or branding, AMc, the New York AG’s

 investigation into the NRA, Carter, Brewer, and/or the Brewer Firm.” Furthermore, the NRA



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 objects to this request because the documents requested have no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. Additionally, the NRA objects to this request to the

 extent it seeks documents protected from disclosure by the attorney-client privilege, the work

 product doctrine, or any other applicable exemption, immunity, or privilege from discovery.

 Subject to and without waiving the foregoing objections and its General Objections, the NRA

 shall produce non-objectionable, non-privileged responsive documents, at a reasonable time and

 place.


 REQUEST FOR PRODUCTION NO. 54:

        Produce the documents and communications exchanged between Brewer and Powell, from
 January 1, 2018 to the present, relating to the Lawsuit, the media, public relations, marketing or
 branding, AMc, the New York AG’s investigation into the NRA, the New York AG, and/or the
 NRA’s tax-exempt status.

 RESPONSE:

          The NRA objects to this request on the grounds that it is overly broad and unduly

 burdensome, and fails to describe with reasonable particularity the documents requested because

 it seeks all documents and communications “exchanged between Brewer and Powell, from

 January 1, 2018 to the present, relating to the Lawsuit, the media, public relations, marketing or

 branding, AMc, the New York AG’s investigation into the NRA, the New York AG, and/or the

 NRA’s tax exempt status.” Furthermore, the NRA objects to this request because the documents

 requested have no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract, particularly

 with respect to the request for documents regarding the New York AG investigation, the New

 York AG, and the NRA’s tax exempt status. Additionally, the NRA objects to this request to the

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 extent it seeks documents protected from disclosure by the attorney-client privilege, the work

 product doctrine, or any other applicable exemption, immunity, or privilege from discovery,

 especially with regards to communications between Brewer and Powell. The NRA stands on its

 objections.


 REQUEST FOR PRODUCTION NO. 55:

        Produce the documents and communications relating to the NRA’s self-correction and New
 York state law [OMITTED], including, but not limited to, documents and communications
 evidencing and relating to the meetings of the NRA Board of Directors, the invoices that were
 converted to contracts, the compliance seminar(s), the review of the NRA’s business practices.

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA specifically objects to this

 request to the extent it seeks communications to or from the NRA Board of Directors and Wayne

 LaPierre issued by or at the direction of counsel or communications that reflect counsel’s legal

 advice or a request for counsel’s legal advice and are therefore protected by the attorney-client

 privilege or work product doctrine. The NRA further objects to this request because it seeks all

 “documents and communications relating to the NRA’s self-correction and New York state law.”

 The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 56:

         Produce the documents and communications exchanged with Brewer and the Brewer Firm
 relating to the NRA’s self-correction and New York state law [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in


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 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA further objects to this

 request as it seeks communications to or from NRA employees and officers issued by or at the

 direction of counsel or communications that reflect counsel’s legal advice or a request for

 counsel’s legal advice, particularly with respect to the Request for communications exchanged

 with Brewer and the Brewer Firm, which documents are protected from disclosure by the

 attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 57:

        Produce the document preservation notice [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA objects to this request on

 the basis that it seeks attorney-client privileged documents protected from discovery by the work

 product doctrine or other applicable privilege. Furthermore, the NRA objects to this request

 because the requested documents have no bearing on the claims and defenses at issue in this

 case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 58:

        Produce the documents and communications relating to the alleged statement by Lacey
 Duffy to The Wall Street Journal concerning LaPierre’s niece’s child marking the walls at the Four
 Seasons Hotel in Los Angeles, [OMITTED].

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 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA also objects to this request

 because documents relating to an “alleged statement by Lacey Duffy to The Wall Street Journal

 concerning LaPierre’s niece’s child marking the walls at the Four Seasons Hotel in Los Angeles”

 have absolutely no bearing on the claims and defenses at issue in this case, including

 Defendant’s claims for libel, declaratory relief, tortious interference, and/or breach of contract,

 and its defenses. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 59:

        Produce the documents relating to the NRA’s $1.8 million rental house in Los Angeles,
 California.

 RESPONSE:

        The NRA objects to this request as documents relating to an alleged rental of a house in

 Los Angeles, California have no bearing on the claims and defenses at issue in this case,

 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 60:

        Produce the documents relating to the NRA’s investment in companies or opportunities in
 the Bahamas.

 RESPONSE:

        The NRA objects to this request as it seeks documents relating to the alleged “investment

 in companies or opportunities in the Bahamas” which have no bearing on the claims and


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 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 61:

        Produce the documents that reflect your relationship with the NRA Foundation.

 RESPONSE:

        The NRA objects to this request on the basis that it is overly broad and unduly

 burdensome, vague and ambiguous as it seeks all “documents that reflect your relationship with

 the NRA Foundation,” without particularity. The NRA further objects to this request as it seeks

 documents regarding the NRA’s relationship with the NRA Foundation, which has absolutely no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. Subject to the foregoing

 objections and its General Objections, the NRA will produce non-privileged, non-objectionable

 responsive documents at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 62:

       Produce the documents relating to the transfer of funds from the NRA to the NRA
 Foundation from January 1, 2018 to the present.

 RESPONSE:

        The NRA objects to this request on the basis that it is overly broad and unduly

 burdensome, vague and ambiguous as it seeks all “relating to the transfer of funds from the NRA

 to the NRA Foundation from January 1, 2018 to the present” without particularity. The NRA

 further objects to this request as documents relating to a purported “transfer of funds from the

 NRA to the NRA Foundation” have no bearing on the claims and defenses at issue in this case,



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 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. Subject to the foregoing objections and its General Objections, the NRA will produce

 non-privileged, non-objectionable responsive documents at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 63:

       Produce the documents evidencing or relating to the transfer of funds from the NRA
 Foundation to the NRA from January 1, 2018 to the present.

 RESPONSE:

        The NRA objects to this request on the basis that it is overly broad and unduly

 burdensome, vague and ambiguous as it seeks all “evidencing or relating to the transfer of funds

 from the NRA Foundation to the NRA from January 1, 2018 to the present” without

 particularity. The NRA further objects to this request as documents regarding purported

 “transfer of funds from the NRA Foundation to the NRA from January 1, 2018 to the present”

 have no bearing on the claims and defenses at issue in this case, including AMc’s claims for

 libel, declaratory relief, tortious interference, and/or breach of contract. Subject to the foregoing

 objections and its General Objections, the NRA will produce non-privileged, non-objectionable

 responsive documents at a reasonable time and place.


 REQUEST FOR PRODUCTION NO. 64:

         Produce the documents and communications exchanged between (a) the NRA Foundation
 and (b) Brewer or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request because it seeks “documents and communications

 exchanged between (a) the NRA Foundation and (b) Brewer or the Brewer Firm” which have no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,


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 declaratory relief, tortious interference, and/or breach of contract. In addition, the NRA objects

 to this request to the extent it seeks documents protected from disclosure by the attorney-client

 privilege, the work product doctrine, or any other applicable exemption, immunity, or privilege

 from discovery. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 65:

           Produce the documents and communications exchanged between the NRA Foundation and
 Carter.

 RESPONSE:

           The NRA objects to this request as any documents regarding the “NRA Foundation and

 Carter” would have absolutely no bearing on the claims and defenses at issue in this case,

 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. In addition, the NRA objects to this request to the extent it seeks documents protected

 from disclosure by the attorney-client privilege, the work product doctrine, or any other

 applicable exemption, immunity, or privilege from discovery. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 66:

       Produce the documents and communications relating to payments made (a) by the NRA
 Foundation (b) to Brewer or the Brewer Firm.

 RESPONSE:

           The NRA objects to this request as it seeks “documents and communications relating to

 payments made (a) by the NRA Foundation and (b) Brewer or the Brewer Firm” which would

 have no bearing on the claims and defenses at issue in this case, including AMc’s claims for

 libel, declaratory relief, tortious interference, and/or breach of contract. In addition, the NRA

 objects to this request to the extent it seeks documents protected from disclosure by the attorney-


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 client privilege, the work product doctrine, or any other applicable exemption, immunity, or

 privilege from discovery, particularly regarding requested communications with counsel, Brewer

 and the Brewer Firm. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 67:

        Produce the documents and communications relating to any transactions between the NRA
 and the NRA Foundation, including, but not limited to, the $5 million loan provided by the NRA
 Foundation to the NRA [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA further objects to this

 request as any purported documents and communications “relating to any transactions between

 the NRA and the NRA Foundation, including, but not limited to, the $5 million loan provided by

 the NRA Foundation to the NRA” would have no bearing on the claims and defenses at issue in

 this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach

 of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 68:

        Produce the documents evidencing or relating to Powell’s and/or Brewer’s efforts, desires,
 attempts, directives, instructions, or other guidance concerning Hallow’s termination.

 RESPONSE:

        The NRA objects to this request because it seeks documents and communications

 regarding “Powell’s and/or Brewer’s efforts, desires, attempts, directives, instructions, or other

 guidance concerning Hallow’s termination” which would have no bearing on the claims and



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 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. Additionally, the NRA objects to this request to the

 extent it seeks documents protected from disclosure by the attorney-client privilege, the work

 product doctrine, or any other applicable exemption, immunity, or privilege from discovery,

 particularly regarding any communications with counsel, Brewer. The NRA stands on its

 objections.


 REQUEST FOR PRODUCTION NO. 69:

        Produce the documents evidencing or relating to the NRA’s complaints about or against
 Powell, including any settlement agreements relating to same.

 RESPONSE:

        The NRA objects to this request as it seeks documents and communications “relating to

 the NRA’s complaints about or against Powell, including any settlement agreements relating to

 same” which have no bearing on the claims and defenses at issue in this case, including AMc’s

 claims for libel, declaratory relief, tortious interference, and/or breach of contract. Additionally,

 the NRA objects to this request to the extent it seeks documents protected from disclosure by the

 attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery, particularly regarding any communications with counsel.

 The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 70:

         Produce the documents and communications relating to the claim by an NRA employee
 against Powell, including any settlement agreements relating to same [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in


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 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA further objects to this

 request as it seeks documents and communications “relating to the claim by an NRA employee

 against Powell, and any settlement agreements relating to same” which have no bearing on the

 claims and defenses at issue in this case, including AMc’s claims for libel, declaratory relief,

 tortious interference, and/or breach of contract. Additionally, the NRA objects to this request to

 the extent it seeks documents protected from disclosure by the attorney-client privilege, the work

 product doctrine, or any other applicable exemption, immunity, or privilege from discovery. The

 NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 71:

       Produce the documents and communications relating to Powell’s efforts or work with the
 Department of Financial Services in regard to New York State [OMITTED].

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in

 the ongoing Virginia actions between the parties by improperly disclosing information deemed

 by the NRA as “Confidential” under the Protective Order. The NRA further objects to this

 request as it seeks documents and communications “relating to Powell’s efforts to work with the

 Department of Financial Services in regard to New York State” have no bearing on the claims

 and defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 72:

        Produce the documents and communications relating to “all of the compliance issues”
 Powell is handling or working on with the New York AG [OMITTED].

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 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in the

 ongoing Virginia actions between the parties by improperly disclosing information deemed by the

 NRA as “Confidential” under the Protective Order. The NRA also objects to this request as it seeks

 documents and communications regarding “‘all of the compliance issues’ Powell is handling or

 working on with the New York AG” have no bearing on the claims and defenses at issue in this

 case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The New York AG matter is completely unrelated to the issues in this case. The NRA

 stands on its objections.


 REQUEST FOR PRODUCTION NO. 73:

        Produce the documents evidencing your current relationship with Powell.

 RESPONSE:

        The NRA objects to this request because documents “evidencing” the NRA’s “current

 relationship with Powell” would have no bearing on the claims and defenses at issue in this case,

 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract.   Furthermore, the Request is vague in that it does not describe with reasonable

 particularity what is meant by “relationship.” The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 74:

         Produce the documents created, relied upon, submitted to third parties, or otherwise relating
 to any criminal investigation concerning, or conviction of, Powell, Hallow, and/or Phillips.

 RESPONSE:




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        The NRA incorporates its General Objections. The NRA further objects to this request

 because it is harassing and is nothing more than an improper fishing expedition. In addition, any

 purported documents and communications relating to any alleged “criminal investigation” or

 “conviction” of “Powell, Hallow, and/or Phillips” have no bearing on the claims and defenses at

 issue in this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or

 breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 75:

        Produce all legal judgments against Powell.

 RESPONSE:

        The NRA objects to this request because any “legal judgments against Powell” would

 have no bearing on the claims and defenses at issue in this case, including AMc’s claims for

 libel, declaratory relief, tortious interference, and/or breach of contract. Additionally, the NRA

 objects to this request to the extent it seeks documents protected from disclosure by the attorney-

 client privilege, the work product doctrine, or any other applicable exemption, immunity, or

 privilege from discovery. The NRA stands on its objections.



 REQUEST FOR PRODUCTION NO. 76:

        Produce the documents that reflect your relationship with Stanton.

 RESPONSE:

        The NRA objects to this request as it seeks documents and communications “that reflect

 your relationship with Stanton” which would have no bearing on the claims and defenses at issue

 in this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or



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 breach of contract. Furthermore, the Request is vague in that it does not describe with reasonable

 particularity what is meant by “relationship.” The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 77:

        Produce the communications between LaPierre and Stanton.

 RESPONSE:

        The NRA objects to this request as it seeks communications “between LaPierre and

 Stanton” which would have no bearing on the claims and defenses at issue in this case, including

 AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of contract. The

 NRA further objects to this request as overly broad and unduly burdensome, as it requests

 communications “between LaPierre and Stanton” with no particularity. The NRA stands on its

 objections.


 REQUEST FOR PRODUCTION NO. 78:

        Produce the communications between (a) Stanton and (b) Brewer or the Brewer Firm.

 RESPONSE:

        The NRA objects to this request as it seeks communications between Stanton and Brewer

 or the Brewer Firm which would have no bearing on the claims and defenses at issue in this case,

 including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach of

 contract. The NRA further objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. The NRA stands on its objections.

 REQUEST FOR PRODUCTION NO. 79:




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        Produce the communications and documents exchanged between (a) LaPierre and
 (b) Brewer or the Brewer Firm from January 1, 2017 to the present.

 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from disclosure

 by the attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery, particularly as it requests communications with counsel,

 Brewer or the Brewer Firm. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 80:

        Produce Supernaugh’s file on LaPierre.

 RESPONSE:

        The NRA objects to this request as vague, as it does not describe with reasonable

 particularity what is meant by a purported Supernaugh “file” on LaPierre. Subject to and without

 waiving the foregoing objections and General Objections, the NRA shall produce non-privileged,

 non-objectionable, responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 81:

        Produce the documents and communications relating to salary increases in 2018 for
 LaPierre and Hallow.

 RESPONSE:

        The NRA objects to this request because it seeks documents and communications “relating

 to salary increases in 2018 for LaPierre and Hallow” which have no bearing on the claims and

 defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract.   The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 82:

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        Produce the personnel files, including the severance agreements, for the individuals
 terminated and/or ousted from the NRA and its Board of Directors since January 1, 2018,
 including, but not limited to, Hart, Cox, Childress, Weaver, Cooper, Christman, and Volkov.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks attorney-client privileged

 communications and/or documents protected from discovery from the work product doctrine or

 other applicable privileges. The NRA also objects to this request as it is overly broad and unduly

 burdensome, as it requests generally personnel files, which would have no bearing on the claims

 and defenses at issue in this case, including AMc’s claims for libel, declaratory relief, tortious

 interference, and/or breach of contract. Subject to and without waiving the foregoing objections

 and General Objections, the NRA shall produce non-objectionable, non-privileged, responsive

 documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 83:

         Produce the documents and communications evidencing and relating to the termination,
 ouster, and/or resignation of the following individuals, including, but not limited to, the documents
 and communications evidencing and relating to the decision for the termination, ouster, and/or
 resignation: Hart, Cox, Childress, Weaver, Cooper, Christman, and Volkov.

 RESPONSE:

        The NRA objects to this request as it seeks “documents and communications evidencing

 and relating to the termination” of the above-listed individuals, which would have no bearing on

 the claims and defenses at issue in this case, including AMc’s claims for libel, declaratory relief,

 tortious interference, and/or breach of contract. The NRA further objects to this request to the

 extent it seeks documents protected from disclosure by the attorney-client privilege, the work

 product doctrine, or any other applicable exemption, immunity, or privilege from discovery,

 especially with regards to documents from Hart, Cooper and Volkov. Subject to and without



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 waiving the foregoing objections and General Objections, the NRA shall produce non-privileged,

 non-objectionable, responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 84:

        Produce the documents and communications evidencing and relating to any administrative
 leave for the following individuals: Hart, Cox, Childress, Weaver, Cooper, Christman, and
 Volkvok.

 RESPONSE:

        The NRA objects to this request as it seeks documents and communications “evidencing

 and relating to any administrative leave” for the above-listed individuals, which would have no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. The NRA further objects to

 this request to the extent it seeks documents protected from disclosure by the attorney-client

 privilege, the work product doctrine, or any other applicable exemption, immunity, or privilege

 from discovery. Subject to and without waiving the foregoing objections and General

 Objections, the NRA shall produce non-objectionable, responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 85:

       Produce the documents and communications evidencing and relating to the alleged coup
 [OMITTED] including, but not limited to, the documents and communications provided to, by, or
 from Boren.

 RESPONSE:

        The NRA objects to this request because it violates the Protective Order entered into in the

 ongoing Virginia actions between the parties by improperly disclosing information deemed by the




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 NRA as “Confidential” under the Protective Order. The NRA stands on its objections. responsive

 documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 86:

         Produce the documents and communications created for, created by, sent to, received from,
 or otherwise exchanged between the NRA and the media relating to AMc.

 RESPONSE:

        The NRA objects to this request as it is ambiguous, overly broad and unduly burdensome,

 as it seeks “documents and communications created for, created by, sent to, received from, or

 otherwise exchanged between the NRA and the media relating to AMc,” which would have no

 bearing on the claims and defenses at issue in this case, including AMc’s claims for libel,

 declaratory relief, tortious interference, and/or breach of contract. Subject to and without waiving

 the General Objections, the NRA shall produce non-objectionable, non-privileged responsive

 documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 87:

         Produce the documents and communications created for, created by, sent to, received from,
 or otherwise exchanged between the NRA and Carter relating to AMc, the media, the NRA, public
 relations services, marketing services, and/or branding services from January 1, 2017 to the
 present.

 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from disclosure

 by the attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 88:




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         Produce the documents and communications created for, created by, sent to, received from,
 or otherwise exchanged between (a) Brewer or the Brewer Firm and (b) the media relating to AMc
 and/or the NRA.

 RESPONSE:

        The NRA objects to this request because any “communications created for, created by, sent

 to, received from, or otherwise exchanged between (a) Brewer or the Brewer Firm and (b) the

 media relating to AMc and/or the NRA” would have no bearing on the claims and defenses at issue

 in this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or

 breach of contract. NRA also objects to this request to the extent it seeks documents protected

 from disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. Subject to and without waiving the foregoing

 objections and its General Objections, the NRA shall produce non-objectionable, non-privileged

 responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 89:

         Produce the documents and communications created for, created by, sent to, received from,
 or otherwise exchanged between the media and Carter relating to AMc and/or the NRA.

 RESPONSE:

        The NRA objects to this request because any “documents and communications created

 for, created by, sent to, received from, or otherwise exchanged between the media and Carter

 relating to AMc and/or the NRA” would have no bearing on the claims and defenses at issue in

 this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach

 of contract. NRA also objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. Subject to and without waiving the foregoing


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 objections and its General Objections, the NRA shall produce non-objectionable, non-privileged

 responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 90:

        Produce the communications between (a) the NRA and (b) Angus McQueen, Revan
 McQueen, Skye McQueen Brewer, and/or any other member of the McQueen and/or Brewer
 family/ies relating to Brewer’s engagement by the NRA, AMc, or the Lawsuit.

 RESPONSE:

        The NRA objects to this request because the requested communications between the

 McQueen family and the Brewer family have absolutely no bearing on the issues and claims in

 this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach

 of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 91:

        Produce the communications between (a) Angus McQueen, Revan McQueen,
 Skye McQueen Brewer, and/or any other member of the McQueen and/or Brewer family/ies, on the
 one hand, and (b) Brewer or the Brewer Firm, on the other hand, relating to AMc and/or the NRA.

 RESPONSE:

        The NRA objects to this request because it requests communications between the

 McQueen family and the Brewer family regarding AMc and the NRA which have absolutely no

 bearing on the issues and claims in this case, including AMc’s claims for libel, declaratory relief,

 tortious interference, and/or breach of contract. The NRA stands on its objections.


 REQUEST FOR PRODUCTION NO. 92:

        Produce the documents and communications relating to the whistleblower complaints of
 AMc’s alleged intentional disregard of annual budgets that the NRA’s Finance Committee
 oversaw and approved prior to Brewer’s involvement, as referenced in LaPierre’s correspondence
 to North on or around April 1, 2018.


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 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. Subject to and without waiving the foregoing

 objections and its General Objections, the NRA shall produce non-objectionable, non-privileged

 responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 93:

        Produce the documents and communications relating to the whistleblower complaints of
 concerns about “revolving door” hiring among the NRA and AMc, and ongoing ties between the
 NRA leadership and AMc leadership prior to Brewer’s involvement, as referenced in LaPierre’s
 correspondence to North on or around April 1, 2018.

 RESPONSE:

        The NRA objects to this request to the extent that it seeks attorney-client privileged

 communications and/or documents protected from discovery from the work product doctrine or

 other applicable privileges. Subject to and without waiving the foregoing objections and its

 General Objections, the NRA shall produce non-objectionable, non-privileged responsive

 documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 94:

        Produce the documents and communications between (a) you and/or LaPierre, on the one
 hand, and (b) Stinchfield, on the other hand, concerning NRATV, AMc, and/or Angus McQueen,
 including, but not limited to, contracts for Stinchfield, documents evidencing or reflecting
 Stinchfield’s salary or other compensation, and/or documents evidencing payments made to
 Stinchfield.

 RESPONSE:

        The NRA objects to this request because any “documents and communications between

 (a) you and/or LaPierre, on the one hand, and (b) Stinchfield, on the other hand, concerning

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 NRATV, AMc, and/or Angus McQueen” would have no bearing on the claims and defenses at

 issue in this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or

 breach of contract. Subject to and without waiving the foregoing objections and its General

 Objections, the NRA shall produce non-objectionable, non-privileged responsive documents at a

 mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 95:

        Produce the documents and communications with third parties about Stinchfield, including,
 but not limited to, his involvement with NRATV, his involvement with AMc, his involvement
 with Angus McQueen, his contract(s), his salary or other compensation, and/or payments made by
 you (or any person or entity on your behalf) to Stinchfield.

 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.

 REQUEST FOR PRODUCTION NO. 96:

         Produce your internal documents and communications (about Stinchfield, including, but
 not limited to, his involvement with NRATV, his involvement with AMc, his involvement with
 Angus McQueen, his contract(s), his salary or other compensation, and/or payments made by you
 (or any person or entity on your behalf) to Stinchfield.

 RESPONSE:

        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 97:




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         Produce the documents and communications with The Daily Beast, including but not
 limited to, Julia Arciga and including, but not limited to, documents relating to Stinchfield.

 RESPONSE:

        The NRA objects to this request because any “documents and communications with The

 Daily Beast, including but not limited to, Julia Arciga and including, but not limited to,

 documents relating to Stinchfield” would have no bearing on the claims and defenses at issue in

 this case, including AMc’s claims for libel, declaratory relief, tortious interference, and/or breach

 of contract. Subject to and without waiving the foregoing objections and its General Objections,

 the NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.

 REQUEST FOR PRODUCTION NO. 98:

        Produce the documents and communications evidencing or relating to total views, engaged
 views, and/or completed views for NRATV.

 RESPONSE:

        The NRA notes that it has requested these precise documents from AMc, as documents

 responsive to this request are readily available to AMc. Subject to and without waiving the

 foregoing objections and its General Objections, the NRA shall produce non-objectionable, non-

 privileged responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 99:

         Produce the documents and communications concerning any financial valuations or
 projections relating to NRATV, including, but not limited to, documents evidencing or relating to
 costs of NRATV compared to other media services.

 RESPONSE:

        The NRA notes that it has requested these precise documents from AMc, as documents

 responsive to this request are readily available to AMc. Subject to and without waiving the

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 foregoing objections and its General Objections, the NRA shall produce non-objectionable, non-

 privileged responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 100:

        Produce the documents and communications relating to the April 8, 2019 email from
 Arulanandam to AMc regarding NRATV metrics, including, but not limited to, drafts of the
 content of the email.

 RESPONSE:

        NRA objects to this request to the extent it seeks documents protected from disclosure by

 the attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery, particularly with regards to any purported “drafts” of the

 requested email. Subject to and without waiving the foregoing objections and its General

 Objections, the NRA shall produce non-objectionable, non-privileged responsive documents at a

 mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 101:

         Produce the documents and communications relating to Forensic Risk Analysis, including,
 but not limited to, communications with Susan Dillon or communications or documents referring
 or related to Susan Dillon.

 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from

 disclosure by the attorney-client privilege, the work product doctrine, or any other applicable

 exemption, immunity, or privilege from discovery. Furthermore, the documents requested were

 addressed in part by the Virginia Circuit court in the separate action between the NRA and AMc,

 wherein the court held that all opinion work product was to be protected from disclosure. Also,

 these documents are in AMc’s possession as a result of its subpoena to FRA. Subject to and


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 without waiving the foregoing objections and its General Objections, the NRA shall produce

 non-objectionable, non-privileged responsive documents at a mutually agreeable time and place.


 REQUEST FOR PRODUCTION NO. 102:

         Produce the documents you reviewed and/or relied upon in responding to AMc’s First
 Set of Interrogatories.

 RESPONSE:

        The NRA objects to this request as AMc has not served requests for interrogatories on the

 NRA in this litigation. It is unclear to the NRA what Defendants are referring to.

 REQUEST FOR PRODUCTION NO. 103:

         In the first unnumbered paragraph of the Preliminary Statement of your Amended
 Complaint, you reference “newly unearthed text messages, emails, and interviews.” Produce
 the “text messages” and “emails” concerning, referring, or relating to this allegation and any notes,
 memoranda, or other documents that were prepared during or as a result of the referenced
 “interviews.”

 RESPONSE:

        The NRA objects to this request to the extent it seeks documents protected from disclosure

 by the attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery, particularly with regard to the request for any “notes,

 memoranda, or other documents” that were prepared as a result of the interviews. Subject to and

 without waiving the foregoing objections and its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 104:

        In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc “went to outrageous lengths to conceal and sustain its fraud.”
 Produce the documents displaying or tending to show the “outrageous lengths” you allege in this
 paragraph, from whatever time period you intended the allegation to encompass.

 RESPONSE:

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        Subject to and without waiving the foregoing objections and its General Objections, the

 NRA shall produce non-objectionable, non-privileged responsive documents at a mutually

 agreeable time and place.


 REQUEST FOR PRODUCTION NO. 105:

         In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc deployed “scorched-earth tactics against anyone who dared
 scrutinize its conduct.” Produce the documents displaying or tending to show the “scorched-
 earth tactics” you allege in this paragraph, from whatever time period you intended the allegation
 to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 106:

        In the first unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that AMc “tried to oust” LaPierre from the NRA. Produce the documents
 displaying or tending to show the efforts to “oust” LaPierre that you allege in this paragraph, from
 whatever time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 107:

        In the second unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that “many within the NRA had grown suspicious that its experiment
 with a branded digital media platform was not working.” Produce the documents internal to
 the NRA that display or tend to show any such suspicions that you allege in this paragraph, from
 whatever time period you intended the allegation to encompass.

 RESPONSE:




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        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 108:

         In the third unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you claim that AMc’s representations regarding NRATV were “intentionally
 (and wildly) misleading.” Produce the communications, reports, articles, or any other document
 in your possession that supports this allegation, from whatever time period you intended the
 allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 109:

       In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you claim that you have “acquired documents and information” showing that “AMc
 fraudulently double billed the NRA.” Produce the “documents” referenced in your allegation,
 from whatever time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 110:

       In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you reference an “open letter” and quote language from an alleged “co-conspirator.”
 Produce a copy of this letter.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 111:



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       In the fourth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you allege that “AMc proceeded to ‘leak’ the threatened documents.” Produce the
 documents you are referencing in this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 112:

         In the fifth unnumbered paragraph of the Preliminary Statement to your Amended
 Complaint, you reference “other failed client representations,” and allege that “many of these
 campaigns…were shut down because of their ineffectiveness, costliness, and [AMc’s]
 reluctance to provide specific performance data.” Produce the documents and communications
 that support this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 113:

        In Paragraph 19 of your Amended Complaint, you claim that AMc provided “elaborate
 assurances” relating to the accuracy, completeness, and security of various records. Produce a
 copy of the documents evidencing or tending to show these “elaborate assurances,” from whatever
 time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 114:

        In Paragraphs 25 and 26 of your Amended Complaint, you attribute several direct quotes
 to Angus McQueen. Produce the communications, personal notes, memoranda, or any other
 documents that contain this quoted language or otherwise support the representations alleged in
 these paragraphs.

 RESPONSE:


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        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 115:

         In Paragraph 26 of your Amended Complaint, you allege that AMc “assured the NRA
 that its substantial investment would ‘pay for itself. . . within three years max.’” Produce the
 communications, personal notes, memoranda, or any other documents that contain this quoted
 language or otherwise support the representations alleged in this paragraph, from whatever time
 period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 116:

         In Paragraph 27 of your Amended Complaint, you allege that AMc represented that live
 programming was “‘the key’ to the success of the platform.” Produce the communications,
 personal notes, memoranda, or any other documents that contain this quoted language or otherwise
 support the representations alleged in this paragraph, from whatever time period you intended the
 allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 117:

         In Paragraph 28 and 29 of your Amended Complaint, you reference thirteen “closed-door
 meetings . . . with Mr. LaPierre and sometimes others from the NRA leadership in
 attendance.” Produce the documents relating to, and notes (whether personal, collaborative,
 official, informal, formal, written, or electronic) taken during, these meetings by LaPierre or any
 other member of “NRA leadership” referenced in this allegation, from whatever time period you
 intended this allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

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 REQUEST FOR PRODUCTION NO. 118:

      In Paragraph 29 of your Amended Complaint, you allege that certain representations made
 by “Defendant Montgomery and others” are “now know to be false.” Produce the
 communications, reports, articles, or any other documents you rely upon to support this contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 119:

        In Paragraph 30 and throughout your Amended Complaint, you contend that “unique” or
 “distinct” viewership was a metric for evaluating NRATV performance that AMc should have
 provided. Produce the reports, communications, textbooks, treatises, or other documents you rely
 upon to support this contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 120:

          With regard to your contentions regarding “unique” or “distinct” viewership data,
 referenced in Request No. 119 above, produce the documents evidencing, containing, and relating
 to this type of data, including, but not limited to, the request(s) you made to AMc for information
 requesting this type of data.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 121:

        In Paragraph 31 of your Amended Complaint, you reference “consistent inquiries of NRA
 leadership” to AMc relating to NRATV viewership. To the extent that these “inquiries” comprise
 documents that were not produced in response to Request No. 120 above, please produce the
 documents evidencing these “inquiries,” from whatever time period you intended the allegation to
 encompass.


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 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 122:

         In Paragraph 31 of your Amended Complaint, you reference “underlying, unvarnished,
 fulsome metrics” that AMc “intentionally withheld from the NRA.” Produce the
 communications, articles, reports, or any other documents you rely upon to support your good-
 faith contention that there were “underlying, unvarnished, fulsome metrics” that AMc knew about
 and/or concealed.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 123:

        Produce the reports, analyses, communications, or any other written or electronic
 information provided to you by any third-party you hired to perform an independent analysis of
 NRATV viewership metrics at any time since 2016.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 124:

        In footnote 14 of Paragraph 37 of your Amended Complaint, you allege that AMc “hired
 a plethora of friends, family, and significant others for positions at NRATV for which they
 lacked the requisite qualifications and experience.” Produce the communications or other
 documents that support this contention, from whatever time period you intended the allegation to
 encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.


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 REQUEST FOR PRODUCTION NO. 125:

         In Paragraph 36 of your Amended Complaint, you allege that AMc provided financial
 valuations that had “no basis in reality.” Produce the reports, analyses, articles, texts, treatises,
 communications, or any other documents you rely upon to support this contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 126:

         With regard to the above allegation from Paragraph 36 of your Amended Complaint (“no
 basis in reality”), produce the reports, analyses, or communications, whether internally to the
 NRA or from any third-party engaged for this purpose, reflecting any efforts to arrive at a more
 “realistic” valuation, including documents revealing what you contend that value should have been
 and the factual and methodical bases for arriving at any such conclusions.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 127:

         In Paragraph 39 of your Amended Complaint, you allege that the “NRA leadership
 requested greater directional control and coordination over the content of NRATV
 programming.” Produce the written or electronic documents and communications evidencing
 these requests, from whatever time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 128:

        With regard to your requests for “greater directional control and coordination over the
 content of NRATV programming” in Paragraph 40 of your Amended Complaint, you allege that
 AMc “became increasingly secretive, hostile and determined to ‘protect’ its ‘economics’ with
 the NRA.” Produce the communications, personal notes, memoranda, or any other documents that
 support this allegation, from whatever time period you intended the allegation to encompass.

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 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 129:

         In Paragraph 43 of your Amended Complaint, you allege that certain work performed for
 the American Clean Skies Foundation was an “unmitigated failure.” Produce the
 communications, reports, articles, or any other documents you relied upon in making this
 allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 130:

        In Paragraph 46 of your Amended Complaint, you reference a New York Times article by
 Danny Hakim, which “reportedly reported” on NRATV viewership, to support your contention
 that AMc “overstated” certain representations regarding viewership. Aside from this news article,
 produce the other documents you relied upon in making this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 131:

         In Paragraph 47 of your Amended Complaint, you claim that you “updated [NRA] internal
 policies and controls” to reflect amendments to New York Not-for-Profit Corporation Law.
 Produce the version(s) of any such “internal policies and controls” that preceded thealleged update,
 and any version(s) that resulted from this updating process.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 132:

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        In Paragraph 47 of your Amended Complaint, you claim that you “sent letters to more
 than a hundred vendors—including AMc—that set forth updated invoice-support
 requirements.” Produce a copy of each of these letters.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 133:

          In Paragraph 47 of your Amended Complaint, you claim that the NRA “undertook to
 strengthen its procedures for documentation and verification of compliance by vendors with
 their contracts.” Excluding the letters you produced in response to Request No. 132 above,
 produce the internal emails, memoranda, or other written or electronic communications and
 documents evidencing or tending to show these efforts, from whatever time period you intended
 this statement to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 134:

         In Paragraph 48 of your Amended Complaint, you allege that “numerous employees came
 forward with complaints about AMc.” Produce the internal emails, memoranda, or other written
 or electronic communications and documents evidencing these “complaints,” from whatever time
 period you intended this allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 135:

        In Paragraph 51 of your Amended Complaint, you allege that AMc became “evasive and
 even hostile” in response to requests pursuant to the Records-Examination Clause of the Services
 Agreement. Produce the written or electronic communications and documents you received from
 AMc evidencing or tending to show the evasiveness or hostility you allege, from whatever time
 period you intended this allegation to encompass.


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 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 136:

        In Paragraph 57 of your Amended Complaint, you allege that the NRA “was contacted
 with increasing frequency by journalists acting on purported ‘leaks’ relating to matters on
 which AMc had worked.” Produce the written or electronic communications and documents from
 any journalist to the NRA or to the Brewer Firm reflecting these requests, from whatever time
 period you intended this allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 137:

         In Paragraph 63 of your Amended Complaint, you allege that there were six months of
 “back-and-forth” between AMc and the NRA regarding requests for the North Contract. Produce
 the written or electronic communications and documents evidencing or tending to show this “back-
 and-forth.”

 RESPONSE:

        The NRA incorporates its General Objections. Subject to and without waiving its General

 Objections, the NRA shall produce non-privileged, non-objectionable, responsive documents to

 Defendants, at a reasonable time and place.

 REQUEST FOR PRODUCTION NO. 138:

       In Paragraph 76 of your Amended Complaint, you allege that: “Discovery has
 corroborated one of the NRA’s worst fears” relating to AMc’s billing practices. Produce the
 documents from this “discovery” effort that you reference in this allegation.

 RESPONSE:




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        The NRA incorporates its General Objections. Subject to and without waiving its General

 Objections, the NRA shall produce non-privileged, non-objectionable, responsive documents to

 Defendants, at a reasonable time and place.

 REQUEST FOR PRODUCTION NO. 139:

         In Paragraph 89 of your Amended Complaint, you state that “AMc’s website falsely
 proclaims that NRATV is the ‘world’s most comprehensive video coverage of freedom- related
 news, events and culture.’” Produce the documents that you rely upon to support this contention,
 including evidence of other websites offering video coverage of freedom-related news, events, and
 culture, which you believe to be more comprehensive than NRATV.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 140:

       Produce the registration documents of any trademark that you claim has been
 misappropriated by AMc in Count One of your Amended Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 141:

         In Paragraph 100 of your Amended Complaint, you claim that Defendants engaged in
 “unauthorized and unlicensed words, statements, and/or use of NRA intellectual property.”
 Produce the documents that support this claim that were not already attached as an exhibit to your
 original or amended pleadings in this matter, if any.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 142:


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        Produce the communications received by the NRA since June 25, 2019, evidencing or
 tending to show the consumer “confusion” you allege has occurred in this matter, as referenced in
 Count One of your Amended Petition.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 143:

        Produce the media reports, social-media postings, or any other document published or
 created by anyone (other than you) since June 25, 2019, reflecting or supporting the existence of
 any consumer confusion you allege in Count One of your Amended Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 144:

        Produce the communications, reports, statements, or other documents evidencing or
 tending to support the “economic” or “financial” injuries that the NRA has suffered, as referenced
 in Count One, Paragraphs 99-100 of your Amended Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 145:

       Produce the communications, media reports, social-media postings, or any other
 documents evidencing or tending to support the “reputational” injury or “loss of goodwill” that
 the NRA has suffered, as referenced in Count One, Paragraphs 99-100 of your Amended
 Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

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 REQUEST FOR PRODUCTION NO. 146:

       Produce the registration documents of any copyright that you claim has been
 misappropriated by AMc in Count Two of your Amended Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 147:

         For every copyright that you claim has been infringed by AMc in Count Two of your
 Amended Complaint, produce the documents that reflect or tend to support any economic or
 financial injury, including lost royalties or loss of market value, suffered by the NRA as a result.

 RESPONSE:

        The NRA objects to this request on the grounds that it is overbroad and unduly burdensome

 to the extent that it purports to require the NRA to gather and produce limitless “documents” which

 indirectly or incidentally refer or relate to “any” economic of financial injury, which is a topic

 reserved for expert discovery. Additionally, the NRA objects to this request to the extent it seeks

 documents protected from disclosure by the attorney-client privilege, the work product doctrine,

 or any other applicable exemption, immunity, or privilege from discovery. Subject to and without

 waiving the foregoing objections and its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 148:

       Produce the documents that reflect or tend to support damages you allege in your Amended
 Complaint.

 RESPONSE:

        The NRA incorporates its General Objections. The NRA objects to this request on the

 grounds that it is vague, overbroad, and unduly burdensome to the extent that it purports to require


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 the NRA to gather and produce limitless “documents” which indirectly or incidentally refer or

 relate to “damages” alleged in the NRA’s amended complaint, as documents concerning damages

 may not be apparent on their fact and the subject matter is reserved for expert discovery. In

 addition, the NRA objects to this request to the extent it seeks documents protected from disclosure

 by the attorney-client privilege, the work product doctrine, or any other applicable exemption,

 immunity, or privilege from discovery. Subject to and without waiving the foregoing objections

 and its General Objections, the NRA shall produce non-privileged, non-objectionable responsive

 documents to Defendants, at a reasonable time and place.

 REQUEST FOR PRODUCTION NO. 149:

        Produce documents reflecting each specific item of property owned or legally possessed
 by the NRA which you claim has been converted by AMc in Count Three of your Amended
 Complaint, if such documents were not already attached as an exhibit to your original or amended
 pleadings in this matter.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 150:

        For every item that you claim was converted by AMc, produce the written or electronic
 communications and other documents reflecting your demand to AMc that the property be
 returned, and any response provided by AMc.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 151:

        In Paragraph 116 of your Amended Complaint, you state that you are seeking as damages
 the “total value” of each item you claim was converted by AMc. Produce the spreadsheets,


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 statements, reports, or any other documents reflecting your computations, estimates, reports, or any
 other analysis of the “total value” of each item.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 152:

        In Paragraph 131 of your Amended Complaint, you state that AMc sent “sham bills” to
 the NRA. Produce the invoices, financial statements, or other “bills” from AMc that you contend
 were a “sham,” from whatever time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 153:

         With regard to Request No. 152 above, produce the communications, reports, spreadsheets,
 financial statements, or any other documents evidencing or tending to support your allegation that
 AMc sent “sham bills” to the NRA.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 154:

        In Paragraph 131 of your Amended Complaint, you state that AMc sought reimbursements
 “in excess of the actual cost to AMc” in certain bills sent to the NRA. Produce the invoices,
 statements, or other “bills” from AMc that you contend sought these excessive reimbursements,
 from whatever time period you intended the allegation to encompass.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.


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 REQUEST FOR PRODUCTION NO. 155:

         With regard to Request No. 154 above, produce the communications, reports, spreadsheets,
 financial statements, or any other documents evidencing or tending to support your allegation that
 AMc sought reimbursements from the NRA “in excess of the actual cost to AMc.”

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 156:

        In Paragraph 137 of your Amended Complaint, you attributed two quotes to Defendants
 (“a good opportunity to generate revenue” and “pay for itself”). Produce the communications,
 meeting notes, or other documents that directly or indirectly reflect these alleged quotes
 (whether separately or together).

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 157:

        In Paragraph 138 of your Amended Complaint, you claim that the NRATV digital platform
 demonstrated “dismal” viewership numbers. Produce the reports, articles, communications, or
 other documents that you rely upon to support this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 158:

        In Paragraph 148 of your Amended Complaint, you allege that AMc “billed the NRA for
 time logged by employees who were supposed to be fully ‘dedicated’ to the NRA.” Produce
 the communications, reports, or other documents that you rely upon to support this allegation.

 RESPONSE:




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        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 159:

         In Paragraph 148 of your Amended Complaint, you allege that AMc “often double-billed
 multiple clients for the same work.” Produce the communications, reports, or other documents
 that you rely upon to support this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 160:

         In Paragraph 148 of your Amended Complaint, you allege that AMc “used equipment,
 billed to the NRA, for other clients’ projects.” Produce the communications, reports, or other
 documents that you rely upon to support this allegation.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 161:

         Produce the written or electronic requests for information relating to NRATV viewership
 analytics or performance metrics that you sent to AMc from 2015 through the beginning of this
 Lawsuit.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 162:

         With regard to the requests for information referenced in Request No. 161 above, produce
 the written or electronic communication or other documents you received from AMc in response.

 RESPONSE:

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        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 163:

        Produce the documents evidencing, reflecting, or relating to your disapproval of NRATV.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 164:

         Produce the communications and other documents you allegedly sent to AMc concerning
 the intellectual property allegations contained in your Amended Complaint.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 165:

         Produce the contracts, communications, or other documents supporting your contention
 that Defendants AMc, Mercury, Montgomery, Winkler, Martin, and/or Greenberg was/were a
 fiduciary of the NRA.

 RESPONSE:

        The Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 166:

         With regard to any third-party subpoenas issued by you in any legal action initiated by you
 against AMc since April 12, 2019, produce a copy of all documents received in response to such
 subpoena(s).

 RESPONSE:



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        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 167:

        With regard to the third-party subpoena(s) referenced in Request No. 166 above, produce
 the communications between the NRA and the subpoena recipient from May 23, 2019 to the
 present, irrespective of whether any documents were ultimately received from the subpoenaed
 party.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 168:

         If you contend that any AMc invoices violate Section II(A)(1) of the Services Agreement
 related to “Public Relations/Political Strategy/Strategic Marketing Services,” produce a copy of
 the invoices that support your contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 169:

         If you contend that any AMc invoices violate Section II(B)(1) of the Services Agreement
 related to “Advertising/Creative/Media Planning and Placement Services,” produce a copy of the
 invoices that support your contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 170:

         If you contend that any AMc invoices violate Section II(B)(2) of the Services Agreement
 related to “Advertising/Creative/Media Planning and Placement Services,” produce a copy of the
 invoices that support your contention.

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 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 171:

         If you contend that any AMc invoices violate Section II(B)(3) of the Services Agreement
 related to “Advertising/Creative/Media Planning and Placement Services,” produce a copy of the
 invoices that support your contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 172:

         If you contend that any AMc invoices violate Section II(C) of the Services Agreement
 related to “Owned Media and Internet Services,” produce a copy of the invoices that support your
 contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 173:

         If you contend that any AMc invoices violate Section II(D) of the Services Agreement
 related to “Digital Systems Operations Support,” produce a copy of the invoices that support your
 contention.

 RESPONSE:

         The Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 174:

         If you contend that any AMc invoices violate Section II(E) of the Services Agreement
 related to “Other Projects,” produce a copy of the invoices that support your contention.

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 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 175:

         If you contend that any AMc invoices violate Section III(A) of the Services Agreement
 related to reimbursement for expenses, produce a copy of the invoices that support your contention.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 176:

         If you contend that any AMc invoices violate Section III(B) of the Services Agreement
 related to Section III(D) of the Services Agreement related to billing for special assignments.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.

 REQUEST FOR PRODUCTION NO. 177:

         Produce your communications with any employee or representative of Associated TV,
 Grassroots Behavioral Services, McKenna & Associates, LLC, and/or MMP referring or related
 to concerns or questions about their billing, contract compliance, lack of current contract,
 compliance with New York not-for-profit law, the audit of their records, or any other matter related
 to contract, financial, billing, or budgetary compliance from August 1, 2018, to the present.

 RESPONSE:

        Subject to and without waiving its General Objections, the NRA shall produce non-

 objectionable, non-privileged responsive documents at a mutually agreeable time and place.




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 Dated: January 21, 2020                  Respectfully submitted,

                                          BREWER, ATTORNEYS & COUNSELORS



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                                          AMERICA




 PLAINTIFF/COUNTER-DEFENDANT’S OBJECTIONS
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                                  CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the above was served on all counsel of record in

 accordance with the Texas Rules of Civil Procedure on the 21st day of January 2020.



                                                       /s/ Michael J. Collins
                                                      Michael J. Collins



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         1    COMMONWEALTH OF VIRGINIA

         2    IN THE ALEXANDRIA CIRCUIT COURT

         3    ------------------------------------

         4    NATIONAL RIFLE ASSOCIATION OF AMERICA,

         5                              Plaintiff,

         6                   -vs-                    Case Nos. CL 19001757
                                                                   and
         7                                                     CL 19002067

         8    ACKERMAN MCQUEEN, INC.

         9    and

        10    MERCURY GROUP, INC.

        11                              Defendants.

        12    ------------------------------------

        13                          HEARING in the above-entitled matter,

        14                   held in Alexandria Circuit Court in

        15                   Alexandria, Virginia, on August 28, 2019,

        16                   before the HON. NOLAN DAWKINS, Presiding

        17                   Circuit Court Judge.

        18

        19

        20

        21    Reported by:

        22    Jacqueline N. Hagen


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                                                                                    2
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         1
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         2

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         1                            P R O C E E D I N G S

         2                        (Whereupon the proceedings commenced at

         3                   11:20 a.m.)

         4                        MR. HUNDLEY:       Good morning, your Honor.

         5                        THE COURT:    Good morning.

         6                        MR. HUNDLEY:       Jim Hundley on behalf of

         7                   the National Rifle Association of America.

         8                   This is Michael Collins.

         9                        MR. DICKIESON:        Good morning, your

        10                   Honor.    David Dickieson and Jose Gonzalez on

        11                   behalf of Ackerman McQueen and the Mercury

        12                   Group.

        13                        THE COURT:    All right.       Let's see.

        14                        MR. HUNDLEY:       Your Honor, there's --

        15                   there's one that there's an Agreed Order,

        16                   motion to amend our answers.         I just hand up

        17                   the Agreed Order to resolve that matter.

        18                        THE COURT:    All right.

        19                        MR. HUNDLEY:       Your Honor, I call -- your

        20                   law clerk had suggested that the Court might

        21                   find useful a transcript from the earlier pro

        22                   hac vice motion that's cited in the


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         1                   pleadings.    The Court had -- so I'm happy to

         2                   hand that up to the law clerk so the Court

         3                   can refer to that, if you desire.

         4                        THE COURT:     Yes, sir.

         5                        MR. DICKIESON:         Good morning, your

         6                   Honor.   I think it might be useful for me to

         7                   provide an update from the last time we were

         8                   here back in June.       As you will recall that

         9                   we asked for a preliminary injunction based

        10                   on the fact that the NRA had not posted a $3

        11                   million letter of credit to allow us to --

        12                   allow Ackerman McQueen to continue doing

        13                   work, and we asked for a preliminary

        14                   injunction to force that so that people

        15                   wouldn't have to be laid off and terminated

        16                   because of this contract.         The Court heard

        17                   arguments but said it didn't have sufficient

        18                   time to go through all of the evidence, and

        19                   we set it for a special, full-day hearing,

        20                   the quickest date possible.          And what

        21                   happened was that in that intervening time,

        22                   the NRA stopped paying invoices and


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         1                   terminated a contract in an immediate

         2                   fashion, and that forced 50 people to be

         3                   furloughed and laid off and terminated.         The

         4                   Alexandria office is being closed, and the --

         5                   the whole point for the preliminary

         6                   injunction hearing was no longer relevant

         7                   because you could not preserve the status quo

         8                   at that point.    And so we canceled the

         9                   hearing on the preliminary injunction, and

        10                   we've been moving forward with discovery in

        11                   the case ever since then.

        12                         The NRA has taken three depositions in

        13                   three different states.       But now, one of the

        14                   things they're seeking to do is block

        15                   Ackerman McQueen from taking any depositions

        16                   of NRA members.    So there are two remaining

        17                   matters, apart from the consent motion:

        18                   AMC's motion for protective order seeking to

        19                   protect information from being disclosed to a

        20                   competitor that resides within the firm of --

        21                   of Brewer that Mr. Collins is -- is a partner

        22                   at.   And then there's NRA's motion for


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         1                   protective order and to quash the -- the --

         2                   the depositions that are being asked for by

         3                   AMC.

         4                          Now, let me suggest the following

         5                   organization for moving forward with what is

         6                   going to be a 25-minute hearing.         First, we

         7                   -- I think we should deal with the NRA's

         8                   motion that involves a simple interpretation

         9                   of Rule 4.1(c) and Rule 4.1(d), and -- and

        10                   the application of those two subsections of

        11                   Rule 4.1.    I think that's a fairly

        12                   straightforward issue, and we can deal with

        13                   that fairly quickly.       Then -- then we can

        14                   deal with AMC's motion that involves a unique

        15                   and novel issue that's not covered by any

        16                   rule:    Whether or not a law firm that has a

        17                   public relations unit that is in direct

        18                   competition with my client should have access

        19                   to the confidential data that's been turned

        20                   over in discovery.

        21                          We think there's no rule that covers

        22                   that because most law firms don't do a public


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         1                   relations work and don't compete against the

         2                   firms that they're suing.         So we think that's

         3                   going to take some -- a little more time, and

         4                   we would ask that the Court follow that

         5                   organization.

         6                        So I'll turn it over to Mr. Hundley on

         7                   the -- his motion for protective order on the

         8                   depositions.

         9                        THE COURT:     Yes, sir.

        10                        MR. HUNDLEY:        That's fine, your Honor.

        11                   I think the two motions, really, are just

        12                   sort of intertwined, and -- and at the heart

        13                   of both motions is our dispute over what an

        14                   appropriate protective order should look like

        15                   in this case.     We filed the motion to quash

        16                   or stay the depositions that they noticed of

        17                   the NRA party -- party witnesses because we

        18                   were unable to reach an agreement with them

        19                   about the protective order and the production

        20                   of discovery that would -- that we've already

        21                   asked for.

        22                        So their objection to our motion to --


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         1                   what we're really asking the Court to do is

         2                   simply order the discovery in a way that's

         3                   fair and equitable.        This isn't a situation

         4                   which, you know -- 4.1(d)(1) is what they

         5                   cite.   The purpose of that rule is to prevent

         6                   the parties from simply refusing to produce

         7                   discovery, and that freezes the litigation,

         8                   and that's not what's happening here at all,

         9                   your Honor.

        10                        The discovery is ongoing in this case.

        11                   The NRA has produced voluminous discovery and

        12                   is continuing to produce discovery.          We've

        13                   taken three depositions already.         We've got

        14                   other non-party depositions that are -- that

        15                   -- working with the witnesses to schedule,

        16                   and those can go forward.

        17                        And -- and this is the crucial point

        18                   that they sort of ignore in their objection

        19                   to our motion -- we have propounded discovery

        20                   to them, two separate rounds of it, which

        21                   they've not complied with.        One of them is

        22                   past due.   The first one is past due.         The


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         1                   second round, we discussed with them an

         2                   extension and agreed to an extension.            They

         3                   refuse to produce any documents, highly

         4                   classified or otherwise, until this

         5                   protective order is resolved.          And we've had

         6                   negotiations with them, and we've suggested,

         7                   "Well, why can't you just produce the

         8                   non-highly classified documents?"          And

         9                   they've declined to enter into those types of

        10                   accommodations.

        11                        So we would submit to the Court -- what

        12                   we're asking the Court to do -- and we think

        13                   it's fair.    It's reasonable.        It's equitable

        14                   -- regarding these depositions is to first

        15                   require AMC to comply with the discovery that

        16                   we propounded.     This isn't a situation where

        17                   we're saying, "We don't want to take any

        18                   depositions until we finish our written

        19                   discovery and get it to you."          That's not

        20                   what happened.     It's -- it's out there, and

        21                   it's due.

        22                        And so we simply are asking the Court to


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         1                   say, "You produce your discovery," and then

         2                   -- and they've indicated they can do that

         3                   quickly.   Once there's a protective order in

         4                   place, they can do that quickly, within, I

         5                   think, a week is what Mr. Dickieson

         6                   indicated.    And within a week after that,

         7                   we're perfectly willing to let these

         8                   depositions go forward.         But we submit we're

         9                   entitled to this discovery that we've asked

        10                   for, and is due to be produced, before these

        11                   depositions go forward.         We're not -- we

        12                   don't think that request to the Court

        13                   violates the rule that they cited, 4.1(d)(1).

        14                        THE COURT:     It sounds like we don't have

        15                   a problem; is that correct?          We don't have a

        16                   problem; is that correct?

        17                        MR. HUNDLEY:        Well, the problem is we --

        18                        THE COURT:     The problem is they haven't

        19                   complied with the discovery.          That's - that's

        20                   what I heard.

        21                        MR. HUNDLEY:        And the reason they're not

        22                   complying with discovery is because there's


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         1                   not a protective order in place, and they're

         2                   refusing to do it until there is a protective

         3                   order in place.    So we're here today, and we

         4                   said, "Okay, let's get the protective order

         5                   issue resolved."    So we're here today to do

         6                   that.

         7                        THE COURT:    Why don't we pass the

         8                   protective order?       Let's move on.

         9                        MR. HUNDLEY:       All right.

        10                        THE COURT:    Let's pass the protective

        11                   order.   What do you want?

        12                        MR. HUNDLEY:       For the protective order?

        13                        THE COURT:    Yes.

        14                        MR. HUNDLEY:       We certainly have no

        15                   objection to a general protective order that

        16                   protects highly confidential information in

        17                   litigation.   We're -- all the parties are

        18                   very familiar with those.       They're asking for

        19                   -- it's paragraph 7.3 of the proposed

        20                   protective order they're submitted to us.

        21                   They're asking for a protective order that

        22                   does something very unique and onerous.


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         1                   They're asking that the NRA's co-counsel, Mr.

         2                   Collins, as well as all of the legal

         3                   professionals that work at the Brewer Law

         4                   Firm, be excluded from looking at that

         5                   discovery.    And they based that argument

         6                   simply on bald, unsupported statements that

         7                   can't be supported, that the Brewer Law Firm

         8                   is a competitor of AMC.

         9                        The Brewer Law Firm is not a competitor

        10                   of AMC, and they don't present any evidence

        11                   to show that it is.         They -- they cite to

        12                   their own arguments in the motion, the pro

        13                   hac vice motion previously that the Court

        14                   overruled.    Their objection's been granted.

        15                   That's not evidence that -- that the Brewer

        16                   Law Firm is a competitor.         They cite to

        17                   quotes by William Brewer, the -- the attorney

        18                   -- one of the attorneys in the Brewer Law

        19                   Firm, that he made to the media on behalf of

        20                   the NRA, but they don't say what those are.

        21                   In any event, they're hearsay.          That's not

        22                   evidence.


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         1                        For a protective order of this level of

         2                   restriction -- and it's really just a

         3                   back-door disqualification of the Brewer Law

         4                   Firm, that the Court's already refused to

         5                   grant -- they granted the pro hac vice

         6                   motion.   The Court's granted the pro hac vice

         7                   motion.   They bear the heavy burden of

         8                   showing good cause, and they simply -- they

         9                   haven't done it because they can't do it.

        10                   The evidence, quite frankly, would be that --

        11                   the evidence quite frankly is that while the

        12                   Brewer Law Firm has a public relations unit

        13                   that employs four people, those four people

        14                   provide public relations services for clients

        15                   who are involved in litigation that the

        16                   Brewer Law Firm is handling.

        17                        The Brewer Law Firm is a boutique

        18                   litigation firm that handles high-profile

        19                   cases where the media is often involved, and

        20                   so they do have a public relations unit that

        21                   deals solely with litigation matters.

        22                   They're a law firm.       AMC is not a law firm.


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         1                   AMC does not do litigation work.       AMC is a

         2                   marketing firm.   The Brewer Law Firm does not

         3                   engage in any of the type of work that the --

         4                   that a marketing and advertising firm like

         5                   AMC engages in.   It's apples to oranges.

         6                        The -- AMC, on behalf of the NRA, was

         7                   running NRA TV.   They were representing

         8                   employees of the NRA, such as Oliver North,

         9                   in their media capacity, helping them to get

        10                   on TV to arrange -- to arrange those types of

        11                   engagements for them.      The Brewer Law Firm

        12                   doesn't do any of that.      They're not equipped

        13                   to do any of that.      I mean, the fact that

        14                   AMC, as a result of the termination of their

        15                   relationship with the NRA, had to hire 50

        16                   employees proves that the Brewer Law Firm is

        17                   not a competitor for this business.        There's

        18                   no way that the four people in the public

        19                   relations firm of the Brewer Law Firm, the

        20                   public relations unit of the Brewer Law Firm,

        21                   could do the work of 50 people who are

        22                   working exclusively for the NRA.       And they


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         1                   haven't presented any evidence to show that

         2                   they're doing any of that work.         They're not.

         3                   They're not a competitor.

         4                        Your Honor, even if they were arguably a

         5                   competitor, which they're not, it's, in fact

         6                   -- it wasn't the NRA that terminated the

         7                   contract.   It was AMC that terminated the

         8                   contract with the NRA.        And so once they did

         9                   that, they lost any standing to complain

        10                   about anybody being a competitor for the

        11                   NRA's business because they've turned it

        12                   down.   They're turned it away.        They've

        13                   terminated the relationship.         So they really

        14                   don't have any standing to make that

        15                   argument, to begin with.

        16                        THE COURT:    Tell me what is -- what is

        17                   Mr. Collins' relationship with the public

        18                   relations portion of the -- of the -- of the

        19                   -- the Brewer law -- the Brewer Firm?

        20                        MR. HUNDLEY:       Mr. Collins is here to

        21                   answer that question, but I think it's fair

        22                   to say he has --he doesn't work with the


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         1                   public relations.

         2                        MR. COLLINS:        Right.   The public

         3                   relations is part -- is not a separate

         4                   entity.

         5                        THE COURT:     It is not?

         6                        MR. COLLINS:        No.   We are a general

         7                   partnership.    I am one of two equity

         8                   partners.   Then we have four people, you

         9                   know, public relations, crisis management,

        10                   for the legal matters we're handling on

        11                   behalf of clients.        They assist us with --

        12                   there needs to be a press release that we

        13                   need to send out about what happened in court

        14                   yesterday related to litigation, not anything

        15                   to do with a new product for a client,

        16                   anything about the scope of what AMC was

        17                   doing.

        18                        It's all in connection with litigation

        19                   that our clients are involved in, and we're

        20                   representing them in the that, and I say,

        21                   generally, we are just a litigation firm.           We

        22                   don't have a real estate department,


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         1                   corporate department, tax department.        We are

         2                   a litigation firm.      And part of litigation is

         3                   dealing with statements made out in the world

         4                   about that litigation that have to be made at

         5                   some time in response, a lot of times, to

         6                   what was said by the other side.

         7                        THE COURT:   Okay.     In your role as the

         8                   litigation portion of the firm, would you be

         9                   -- would you have access to proprietary

        10                   information that relates to -- or

        11                   confidential information that relates to the

        12                   other party in this case?

        13                        MR. COLLINS:      I would have it in my role

        14                   as an attorney, yes.

        15                        THE COURT:   Attorney, yes.      That's

        16                   right.

        17                        MR. COLLINS:      Yes, absolutely I would

        18                   have access to it, just like they would have

        19                   of our clients.   So yes, I certainly would,

        20                   and that's where our point is:       The attorney

        21                   who's been admitted to practice on behalf of

        22                   his client is entitled to access to


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         1                   everything.

         2                        THE COURT:     And would that information

         3                   be shared with the public relations portion

         4                   of that -- of the Brewer Firm?

         5                        MR. COLLINS:        In connection with the

         6                   litigation itself, I don't think so, your

         7                   Honor.   No.   Now, if they --

         8                        MR. HUNDLEY:        Your Honor -- I'm sorry.

         9                        MR. COLLINS:        No, please.

        10                        MR. HUNDLEY:        I just want to -- we've

        11                   proposed a protective order that would

        12                   prohibit the public relations unit employees

        13                   from having access to any of the discovery

        14                   designated "highly confidential."         We don't

        15                   object to that.

        16                        THE COURT:     What's the problem with

        17                   that?

        18                        MR. HUNDLEY:        They won't accept it.

        19                        MR. DICKIESON:        Your -- your Honor, the

        20                   person who is most involved in public

        21                   relations, the person who is most dealing

        22                   with the press, is William Brewer.          William


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         1                   Brewer is an attorney.        He's not one of the

         2                   four people in the unit.        The unit reports to

         3                   him.   He is the one who is the leading face.

         4                          We -- the last time we were here, the

         5                   Court spoke about creating a wall, and -- and

         6                   the wall -- walling off Mr. Collins from the

         7                   other members of his firm, particularly Mr.

         8                   Brewer, is something that we could -- we

         9                   could live with.     That's something that they

        10                   would not accept.       Even though Mr. Brewer is

        11                   not admitted pro hac vice in this case, and

        12                   even though Mr. Brewer cannot be admitted pro

        13                   hac vice in this case based on sanctions he

        14                   received in the Eastern District of Virginia,

        15                   that we are not -- we are not ready to share

        16                   information with Mr. Brewer that he can then

        17                   exploit.

        18                          And for a little background, your Honor,

        19                   Mr. Brewer is the brother-in-law of the CEO

        20                   of Ackerman McQueen and the son-in-law of the

        21                   recently deceased -- and this is another

        22                   development since the last hearing.          Angus


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         1                   McQueen died in the last month, and he was

         2                   one of the -- he was the co-CEO of the

         3                   business.   He is the father-in-law of Mr.

         4                   Brewer.   So there's a Shakespearean tragedy

         5                   that's taking place here of a family dispute,

         6                   and the Ackerman McQueen people do not want

         7                   to share their -- their confidential,

         8                   proprietary information with the

         9                   brother-in-law who was building up a public

        10                   relations business.        He's written an article

        11                   that we submitted to the Court in a prior

        12                   pleading about how you use public relations

        13                   in litigation, and he is, as -- as Mr.

        14                   Collins admitted in his statement just a

        15                   second ago, they do crisis management.

        16                        That's exactly what Ackerman McQueen

        17                   does.   In the wake of -- of a mass shooting,

        18                   it's Mr. Brewer out front doing crisis

        19                   management for NRA, and he's billing them

        20                   what Ackerman McQueen used to bill for crisis

        21                   management in the wake of a mass shooting.

        22                   And so to say that they don't compete or that


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         1                   because they're too small they can't compete,

         2                   they can still chew away at pieces, and

         3                   they're trying to hire people to take on new

         4                   roles, and the NRA is trying to hire away

         5                   Ackerman McQueen people to do the work that

         6                   Ackerman McQueen used to do under contract.

         7                        So there is active competition between

         8                   these parties.    There's crisis management

         9                   that overlaps between the parties, and we

        10                   think it's vital that this Court recognize

        11                   that Mr. Brewer is the head of the public

        12                   relations unit.    He's not just an attorney.

        13                   And then they've got these four people that

        14                   do something entirely different.        So that's

        15                   why we wouldn't agree to just walling off the

        16                   four people in the public relations unit.

        17                        MR. COLLINS:       When I used the words

        18                   "crisis management," it's not general crisis

        19                   management.   We don't represent any third

        20                   party, any client, unrelated to the specific

        21                   litigation we're working on with them, and

        22                   all it is is -- for example, your Honor, if a


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         1                   decision comes out -- I think there's press

         2                   here today in this courtroom.          No problem

         3                   with that; it's an open courtroom.           But

         4                   they're only dealing with those type of

         5                   issues in connection with the litigation and

         6                   just limited to issues arising directly in

         7                   the litigation:     "What happened here today?

         8                   A reporter called and has a question.           What

         9                   happened today?"      So something like attorneys

        10                   would answer themselves.

        11                        MR. DICKIESON:         If I could respond, your

        12                   Honor.   We've asked in our discovery requests

        13                   for information about what Brewer Law Firm is

        14                   doing for the NRA, and they've refused to

        15                   answer those questions.         And so how can we

        16                   present evidence of what they're doing when

        17                   they refuse to give us that information?

        18                        So one of the things that -- that we are

        19                   trying to do is we are trying to take

        20                   discovery.    They've taken their three

        21                   depositions, three different states.           We

        22                   haven't been able to take any depositions.


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         1                   There was supposed to be a deposition

         2                   yesterday that, because of this motions

         3                   hearing, we were not allowed to take.        So we

         4                   are being blocked from discovery.

         5                        Rule 4.1(d) makes it very clear that

         6                   they cannot dictate the order that we take

         7                   discovery, and so we are trying to move

         8                   forward, take the discovery that we're

         9                   entitled to take, and they can't say -- well

        10                   first of all, I want the Court to recognize

        11                   we are not late on any discovery.       We have

        12                   complied timely with all the discovery

        13                   requests, and we have answered the request to

        14                   produce documents.      We've answered the

        15                   interrogatories, and we -- in our request to

        16                   produce document responses, we have said

        17                   objections, and then we will produce

        18                   documents, notwithstanding such objections,

        19                   as soon as the protective order is entered.

        20                        We're not late on any of that, and we

        21                   filed a motion for protective order, and --

        22                   and that's -- as soon as that's decided, we


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         1                   are ready to start rolling out documents by

         2                   this Friday, and -- and that's something that

         3                   I think is ignored when they say that we are

         4                   somehow deficient in our discovery responses.

         5                        But because we have the right to ask NRA

         6                   employees what's in their mind, not "What did

         7                   you learn when you looked at AMC's

         8                   documents?" -- that's not what we're going to

         9                   ask them in -- in discovery depositions.

        10                   We're going to say, "What did you know?         And

        11                   when did you know it?       And why did you take

        12                   the action you took?"       Not, "What did you

        13                   learn from looking at the documents we

        14                   produced last week?"

        15                        So they can't dictate what we're going

        16                   to do in the order of our discovery, and

        17                   that's what Rule 4.1(d)(1) states.         It's very

        18                   clear.   Rule 4.1(c) is also clear, and it

        19                   says they can get their protective order only

        20                   if they show oppression and -- and things

        21                   that they don't show when they say, "We can't

        22                   prepare our NRA employees for their


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         1                   depositions."    That's not oppression.        That's

         2                   not undue expense that 4.1(c) is involving.

         3                        So, therefore, we think that we're

         4                   entitled to move forward with our depositions

         5                   without regard to their not having received

         6                   documents they're going to receive anyway.

         7                   But they're trying to dictate how we go about

         8                   our discovery, and they can't do that.

         9                        THE COURT:    Yes, sir.

        10                        MR. HUNDLEY:       I guess just to -- that,

        11                   again, I mean, if there's a violation of

        12                   4.1(d), it's being caused by AMC.         Even Mr.

        13                   Dickieson just admitted their response was,

        14                   "We're not going to respond -- we're not

        15                   going to produce until we have the protective

        16                   order."    We're entitled to our discovery.

        17                   We're just asking the Court to -- to -- to

        18                   allow us to get the discovery we've asked for

        19                   before committing these depositions to go

        20                   forward.   I mean, Mr. Dickieson says, "We

        21                   don't want to ask them any questions."          We

        22                   don't know that.     We don't know what -- we


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         1                   have no idea what highly confidential

         2                   discovery is that -- that they're seeking

         3                   this protection order for.      They haven't

         4                   given us any hint as to what it might be.

         5                        So we're just simply asking the Court to

         6                   equitably order the discovery in this case in

         7                   a way that isn't going to affect the trial

         8                   schedule, isn't going to do anything.         It's

         9                   not going to slow it down.      So, again, I

        10                   think that request is very reasonable.

        11                        As -- as far as the protective order

        12                   that they're proposing, your Honor, they're

        13                   not -- they're seeking to -- the motion seeks

        14                   to exclude Mr. Collins, who's been admitted

        15                   as pro hac vice in this case.       He's an

        16                   officer of the Court, therefore, and a

        17                   licensed member of the Texas Bar and the New

        18                   York Bar in good standing.      And they're

        19                   seeking to exclude all of the legal

        20                   professionals at the Brewer Law Firm who can

        21                   be -- who will be working on this case.         The

        22                   NRA is entitled to have the full services of


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         1                   that law firm.   That's their counsel.

         2                   They're entitled to that.       There's nothing

         3                   before the Court, other than their sort of

         4                   unfounded suspicions, that these lawyers and

         5                   these legal professionals will not abide by

         6                   the protective order of this Court.

         7                        They will be bound by it.        They will not

         8                   be able to use any highly confidential

         9                   discovery in any manner that does not comport

        10                   lawfully with the Court's order.        If they do,

        11                   this Court will know what to do about it.

        12                   But there's no evidence before the Court that

        13                   they won't do that, and that includes Mr.

        14                   Brewer.   There is not an ethical requirement

        15                   that he be walled off.       This is not -- this

        16                   is not a Rule 1.10 professional conduct

        17                   violation where he's got a conflict because

        18                   he's previously represented AMC and now

        19                   they're adverse.    It's not that situation.

        20                        This is a situation under Rule 3.7

        21                   where, potentially, if he were an advocate in

        22                   this case, he might be a witness for the NRA.


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         1                   There's actually no conflict because the

         2                   conflict under Rule 3.7 only arises when the

         3                   testimony of the lawyer would be adverse to

         4                   his client, and it won't -- it wouldn't be,

         5                   and it will not be in this case.

         6                        Nevertheless, out of an abundance of

         7                   caution, we have not sought Mr. Brewer's pro

         8                   hac vice admission in this case, and so we

         9                   fully, above and beyond the requirements of

        10                   -- of the law, actually dealt with the

        11                   ethical concerns that he potentially being a

        12                   witness have raised.     Even if there were a

        13                   conflict, even if his testimony was

        14                   potentially adverse to the NRA, which it's

        15                   not, but even if it were, the ethical

        16                   considerations are still clear.       He can

        17                   participate in preparing the case.        He simply

        18                   can't be an advocate at trial.       And we've

        19                   cited US v. Perry, as well as other cases,

        20                   which -- which make that distinction.

        21                        This is not the case where he has --

        22                   where he's got a clear conflict under


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         1                   Rule 1.10, where, first, it'd have to be the

         2                   consent of all parties that he -- that --

         3                   that the law firm remain in the case, and

         4                   then the attorney with the conflict has to be

         5                   walled off.    This is a different situation

         6                   and the ethical concerns are different, and

         7                   we've properly addressed them.         So there's no

         8                   reason why he can't help prepare the case

         9                   under the constraints --

        10                          THE COURT:   Even -- even if he's privy

        11                   to certain proprietary information that he

        12                   gained as a result of his prior

        13                   representation, can he -- can he -- can he

        14                   participate in preparing the case and use

        15                   information that he gained as his role

        16                   representing the NRA or anyone else?

        17                          MR. HUNDLEY:     He's never represented

        18                   AMC.    So he doesn't have any of their

        19                   proprietary information I -- to the best of

        20                   my knowledge --

        21                          THE COURT:   Is that correct?      All right.

        22                   Okay.


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         1                        MR. HUNDLEY:        So the question is --

         2                        THE COURT:     But he is --

         3                        MR. HUNDLEY:        -- if they produce it, can

         4                   he be trusted to only use it in accordance

         5                   with this Court's protective order?

         6                        THE COURT:     That's correct.

         7                        MR. HUNDLEY:        And that -- there's

         8                   absolutely no evidence before the Court that

         9                   he can't be.

        10                        THE COURT:     All right.

        11                        MR. HUNDLEY:        There's not.

        12                        THE COURT:     All right.      So now, as I

        13                   understand it, we have competing protective

        14                   orders; is that correct?        Or we only have one

        15                   which has a clause in it that walls off the

        16                   Brewer Firm?

        17                        MR. HUNDLEY:        We're simply -- yeah,

        18                   we're asking the Court today to craft

        19                   paragraph 7.3, yeah.        I think at this point,

        20                   there's one other issue.        They've asked that

        21                   the NRA -- that -- that we designate, on

        22                   behalf of the NRA, one corporate


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         1                   representative who would be allowed to look

         2                   at the highly confidential information.         What

         3                   we would ask the Court to do is, one, allow

         4                   the NRA's general counsel, John Frazier,

         5                   who's here today, to look at the highly

         6                   confidential information as well as one

         7                   designated corporate representative.         And I

         8                   don't believe they object to that.

         9                        THE COURT:     Any objection to that?

        10                        MR. DICKIESON:      No, your Honor.     The

        11                   only -- the only request we would have is

        12                   that any discovery designated by the NRA as

        13                   highly confidential be treated in the same

        14                   manner by the AMC -- by AMC, that they only

        15                   -- that they designate one person on their

        16                   side to look at it.      So we're just asking for

        17                   an equitable order that applies equally to

        18                   both people.

        19                        THE COURT:     Any objection to that?

        20                        MR. DICKIESON:      Yes, your Honor, because

        21                   it's not a parallel situation.       We're -- our

        22                   concern is not -- is not the lawyer as


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         1                   witness provision that -- that Mr. Hundley is

         2                   talking about.    Our objection is that this is

         3                   -- Mr. Brewer's law firm is a direct

         4                   competitor with AMC.       There's no one at AMC

         5                   who is a direct competitor with anyone at the

         6                   NRA.   So there's no reason to limit AMC's

         7                   staff, who has been working with the NRA for

         8                   decades, from looking at documents that are

         9                   turned over in discovery that aid us in the

        10                   preparation of our case.

        11                          So there's -- there's no competitive

        12                   advantage that -- that AMC gets by looking at

        13                   those documents.     While, on the other hand,

        14                   there is a competitive advantage that the

        15                   Brewer Law Firm gets if -- if they happen to

        16                   -- to get that information and our -- our

        17                   intent in limiting it to one or two designees

        18                   of the -- of the NRA is because Mr. Brewer is

        19                   so involved with the NRA's representation

        20                   that he is going to have discussions with all

        21                   these people at the NRA.        There's been press

        22                   reports about how Mr. Brewer is actually


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         1                   dictating to the accounting staff about how

         2                   to -- how to take actions and who's going to

         3                   be paid first and who's going to be paid

         4                   second.

         5                        So we're very concerned about multiple

         6                   people at the NRA and their communications

         7                   with the Brewer Law Firm where they have no

         8                   concerns about the AMC that has been doing

         9                   NRA business for decades and knows a lot of

        10                   the confidential information there to begin

        11                   with.

        12                        THE COURT:   So what you're suggesting is

        13                   limited number of representatives from NRA

        14                   but unlimited with regard to Ackerman

        15                   McQueen?

        16                        MR. DICKIESON:       Well, not necessarily

        17                   unlimited, but everybody who's going to be

        18                   looking at it is going to be -- have to be

        19                   advised to be aware of -- and they can even

        20                   send a form that they have to sign saying

        21                   that "We're being allowed to look at these

        22                   documents and we don't -- we won't disclose


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         1                   to anyone outside of the -- the privilege of

         2                   this protective order," if they want to do it

         3                   that way --

         4                        THE COURT:    Any objection to that?

         5                        MR. DICKIESON:      -- but --

         6                        MR. HUNDLEY:       I'm not -- I'm not sure I

         7                   fully grasp what he's -- what he's

         8                   suggesting.   I'm sorry, your Honor.        I just

         9                   think the -- I think whatever order we craft

        10                   should be equitable --

        11                        THE COURT:    It sounds like -- it sounds

        12                   like what you're suggesting is a separate

        13                   document every time someone looks at a

        14                   document from the opposing counsel or the

        15                   other party; is that correct?

        16                        MR. DICKIESON:      Right.    There's a

        17                   standard practice in cases with a lot of

        18                   confidential information where you've got

        19                   different people reviewing it that these

        20                   people have to sign something saying that

        21                   they won't disclose it, or they're -- they'll

        22                   abide by the terms of the protective order.


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         1                        MR. HUNDLEY:       Yes, they have to.     Anyone

         2                   who looks at highly confidential discovery in

         3                   this case has to be bound by the protective

         4                   order, and they can sign an affirmation that

         5                   they've reviewed it and --

         6                        THE COURT:    What's your objection?

         7                        MR. HUNDLEY:       To that?    None.

         8                        THE COURT:    None.      No objection.

         9                        MR. HUNDLEY:       But it goes both ways.       I

        10                   mean, anyone at Ackerman McQueen who -- who

        11                   looks at highly confidential information

        12                   that's designated by the NRA would have to do

        13                   the same.   They're objecting to that.         I

        14                   don't quite understand their argument.

        15                   They're saying that we're not -- the NRA and

        16                   AMC don't compete with each other.          So I

        17                   don't understand why the competition between

        18                   the parties is an issue.

        19                        We just want the -- the whole purpose of

        20                   limiting the access to the highly

        21                   confidential information is you're balancing

        22                   the need to protect that information versus


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         1                   the need to prepare your case.          And so if

         2                   we're going to limit our ability to prepare

         3                   the case in order to protect their

         4                   confidential information, they should do the

         5                   same, and that's all we're saying.

         6                        THE COURT:     Why shouldn't you do the

         7                   same?   And I think, from what I understand

         8                   he's saying, is that you don't think you have

         9                   to because you already have that information

        10                   based on your prior -- your prior

        11                   relationship with the NRA.         Is that what

        12                   you're saying?

        13                        MR. DICKIESON:         Yes, and the fact that

        14                   they're --

        15                        THE COURT:     So why is there a problem?

        16                        MR. DICKIESON:         There's no competitive

        17                   advantage that we get by looking at it

        18                   whereas if -- if -- we've already seen that

        19                   the Brewer Law Firm and the NRA have used

        20                   another client, another major client of

        21                   Ackerman McQueen, the Chickasaw Nation, and

        22                   used a document by one of the directors of


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         1                   the Chickasaw Nation in the case, and we --

         2                   we're afraid that they will go and they'll

         3                   get into our documents, and they'll look more

         4                   -- for more information about the Chickasaw

         5                   Nation and start to take competitive --

         6                   anti-competitive action to take that client

         7                   away from us.   We're very concerned about

         8                   that.   We're not trying to take clients away

         9                   from the NRA.   There's -- there's nothing

        10                   we're trying to do there.       So it's not a

        11                   parallel situation.

        12                        THE COURT:   Let's -- let's cut to the

        13                   point that what's -- what will apply with

        14                   regard to confidential information with

        15                   regard to NRA and Ackerman McQueen will be --

        16                   so whatever that he -- whatever your -- your

        17                   client or representatives from Ackerman

        18                   McQueen view as confidential, they'll have --

        19                   they will have to sign a document protecting

        20                   confidentiality, as well as the NRA.         So

        21                   both.

        22                        MR. DICKIESON:       That's fine, your Honor.


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         1                        THE COURT:   All right.

         2                        MR. DICKIESON:       And what about the

         3                   limitations on the Brewer Law Firm?

         4                        MR. HUNDLEY:      That's -- that's the real

         5                   issue, I think, as to who at the Brewer Law

         6                   Firm should be allowed to view the highly --

         7                   the highly confidential discovery.         Our

         8                   position is we'll wall off from the public

         9                   relations unit.   We don't object to that, but

        10                   any lawyer or legal professional at the

        11                   Brewer Law Firm -- there's no evidence that

        12                   those professionals will not abide by this

        13                   Court's order.    There's no evidence of that,

        14                   and so they should be allowed to look at it

        15                   and be bound by it and be required to follow

        16                   it, and that's -- that's our position.

        17                        We should -- it shouldn't just be -- I

        18                   mean, not only should it be Mr. Collins,

        19                   who's been admitted in this case, but his

        20                   associate, his legal assistant.        We don't

        21                   know what the discovery is going to look

        22                   like.   It could be tremendously voluminous.


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         1                   It may require a lot of people to organize it

         2                   and review it.      They'll all be bound by that

         3                   order.

         4                          MR. DICKIESON:      Your Honor, we don't

         5                   have any problem with a wall between Mr.

         6                   Bennett and the rest of the firm, and in that

         7                   time, Mr. Bennett's side of the wall, his

         8                   associate, and his legal assistant.          What

         9                   we're concerned about is the public relations

        10                   unit that is run by Mr. Brewer, and that --

        11                   that's in a different office.         That's in New

        12                   York, and Mr. Brewer is in New York.          I don't

        13                   know where all the public relations people

        14                   are.

        15                          THE COURT:   Does Mr. Brewer practice

        16                   law?

        17                          MR. HUNDLEY:     He does.

        18                          THE COURT:   And will Mr. Brewer have any

        19                   involvement with this case?

        20                          MR. HUNDLEY:     He does.

        21                          MR. DICKIESON:      And they -- they admit

        22                   that in their -- their response, that he is


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         1                   actually involved in the strategy

         2                   discussions.    He's the main driving force in

         3                   this case, your Honor, but he's not pro hac

         4                   vice because he's got problems with other

         5                   courts where he has been sanctioned by a

         6                   court in Texas, and he was denied pro hac

         7                   vice status by the Eastern District of

         8                   Virginia.   So that's why he's not here in

         9                   this case now.

        10                        MR. HUNDLEY:        That's actually not why

        11                   he's not here, your Honor.        He's not here out

        12                   of our ethical concern that he might be a

        13                   witness, and so rather than move him pro hac

        14                   vice and -- and deal with that, we took the

        15                   prudent course of not admitting him pro hac

        16                   vice, but he still is ethically allowed to

        17                   participate in the preparation of this case.

        18                   He's not a member of the trial team.          So his

        19                   involvement is less, but he's allowed to

        20                   participate.

        21                        THE COURT:     But why?     Tell me why?    Why?

        22                   Why should he?


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         1                        MR. HUNDLEY:      Because he's been working

         2                   with the NRA for 30 years, I think.        I'm

         3                   sorry, but -- but he has -- he's intimately

         4                   familiar with the NRA and the workings -- in

         5                   their dealing with Ackerman McQueen.

         6                        MR. DICKIESON:      He's been working with

         7                   them for about a year and a half, is my

         8                   understanding, and he knows the -- Ackerman

         9                   McQueen because, as I say, he's the

        10                   brother-in-law of the CEO and the son-in-law

        11                   of the former co-CEO of Ackerman McQueen, and

        12                   his -- his wife -- well, his wife is the

        13                   daughter and sister of them.       So he is in a

        14                   family dispute trying to take over the

        15                   Ackerman McQueen PR business, and he's right

        16                   in the thick of things.      He's had all of

        17                   sorts of problems with the -- the Eastern

        18                   District of Virginia, which they have not

        19                   denied, in sanction and that was up held in

        20                   Texas for $173,000 for unethical behavior

        21                   there.

        22                        THE COURT:   We will agree that Mr.


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         1                   Collins is a very competent attorney in this

         2                   matter.    Would you not?

         3                        MR. COLLINS:       I hope so.

         4                        THE COURT:    I hope so.       I hope so, and

         5                   I'm going to -- I'm going to grant the

         6                   protective order with regard to Mr. Brewer,

         7                   and if you believe that, at some point, that

         8                   that has an impact on your ability to

         9                   litigate this case, then you can come back to

        10                   this Court and ask the Court to reconsider.

        11                   But, at this stage, Mr. Brewer will be walled

        12                   off from any -- any involvement in the case.

        13                        MR. DICKIESON:        And the PR unit, as

        14                   well, your Honor?

        15                        THE COURT:    And the PR unit.       That's

        16                   correct.

        17                        MR. HUNDLEY:       And well, just so we're

        18                   clear, he'll be walled off from the highly

        19                   confidential --

        20                        THE COURT:    That's correct, highly

        21                   confidential.    That's right.       Absolutely,

        22                   absolutely.


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         1                        MR. HUNDLEY:        Discovery, that's

         2                   designated by --

         3                        THE COURT:     That's right.      Which then

         4                   leads us to -- the next issue is -- with

         5                   regard to the ongoing discovery, we have

         6                   depositions that have -- have to be held; is

         7                   that correct?

         8                        MR. DICKIESON:        Yes, your Honor.

         9                        THE COURT:     And with regard to this

        10                   protective order, that revolves that issue.

        11                   Does it not?

        12                        MR. DICKIESON:        We were supposed to have

        13                   a deposition tomorrow.

        14                        THE COURT:     Yeah.

        15                        MR. DICKIESON:        I don't think that

        16                   anyone is going to be ready for that because

        17                   we had to wait for the results of today, but

        18                   we -- we don't want any restriction with them

        19                   dictating when we can take a deposition of

        20                   whom, and that's what Rule 1 -- 4.1(d)

        21                   says --

        22                        THE COURT:     Let's -- let's make that


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         1                   clear.   There won't be any restrictions.

         2                   You're going to follow the rules, and I don't

         3                   think that you're going to have any

         4                   discretion in terms of what you would -- the

         5                   rules say what they say.

         6                        MR. DICKIESON:        Thank you, your Honor.

         7                        THE COURT:    All right.       Yes, sir?

         8                        MR. HUNDLEY:       Well, again, your Honor, I

         9                   mean, we're asking the Court to enter an

        10                   order requiring them to -- now that they've

        11                   got their protective order --

        12                        THE COURT:    They have to -- well, no

        13                   question.   You've got to -- you've got to

        14                   provide your discovery.        From what I

        15                   understand, you've not provided anything yet;

        16                   is that correct?

        17                        MR. DICKIESON:        No, your Honor.     We --

        18                   we've fully responded to interrogatories.            We

        19                   -- we've responded to the document request,

        20                   but we said we're not turning things over

        21                   that are confidential until the protective

        22                   order is in place.


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         1                         THE COURT:   Well, that's been resolved.

         2                         MR. HUNDLEY:     Right.

         3                         MR. DICKIESON:      And so we've already --

         4                   my understanding is as of Friday, we're going

         5                   to start the rolling process of turning

         6                   things over, and we'll have a lot of

         7                   documents for them to look at.

         8                         THE COURT:   They will comply.       Do you

         9                   want a deadline, Counsel?

        10                         MR. DICKIESON:      Your Honor, I --

        11                         MR. HUNDLEY:     If they can comply within

        12                   one week, we can begin scheduling the

        13                   depositions they're seeking the week after

        14                   that.

        15                         MR. DICKIESON:      Your Honor, I would -- I

        16                   would object.   That's a -- that's a subject

        17                   for motion to compel, to put a deadline on

        18                   us.   I think we're acting in good faith.

        19                   We've not been late with anything, and -- and

        20                   I think we're going to continue to be acting

        21                   in accordance with the rules, but I don't

        22                   think we should be -- have a motion to compel


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         1                   decided on the basis of no briefs and -- and

         2                   nothing -- nothing for us to argue on.

         3                        THE COURT:   Yes, sir.

         4                        MR. HUNDLEY:      Well, your Honor, we

         5                   didn't file -- we didn't with file a motion

         6                   to compel because, one, I know the Court

         7                   greatly disfavors those.      And the issue

         8                   holding up the discovery, as I understood

         9                   it --

        10                        THE COURT:   Is the protective order.

        11                        MR. HUNDLEY:      -- was the protective

        12                   order.

        13                        THE COURT:   And that --

        14                        MR. HUNDLEY:      So with that -- so we were

        15                   simply waiting for that to be resolved.        My

        16                   understanding was they could then produce the

        17                   discovery very quickly.      We're simply asking

        18                   for the Court to give us a chance to see that

        19                   discovery before these party depositions take

        20                   place so that we're properly prepared, and I

        21                   think we're entitled to ask the Court too.

        22                   It's equitable.   We've propounded the


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         1                   discovery, and -- and we've litigated the

         2                   issues, and so we should have that benefit

         3                   before these witnesses take place.         We're not

         4                   violating Rule 4.1(d) by doing that, by

         5                   making that request to this Court.

         6                        THE COURT:     So when do you think you

         7                   would be prepared to provide the discovery?

         8                        MR. DICKIESON:      They've asked for a

         9                   massive amount of documents.       We're going to

        10                   start rolling production of it.       My

        11                   understanding is this Friday, there's going

        12                   to be, you know, in excess of 1,500

        13                   documents, 1,500 documents provided, and --

        14                   and there's going to be discovery all the way

        15                   in the next few months.      The trial is not

        16                   until April.    Documents are going to be

        17                   discovered and found, and it's a process.          I

        18                   don't want to have an order compelling us to

        19                   do anything when there's been no motion to

        20                   compel, and there's no reason for a motion to

        21                   compel because we're not late.

        22                        THE COURT:     But you have an ongoing


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         1                   obligation to provide discovery.          So once you

         2                   get started, then anything else that comes up

         3                   than you simply need to provide the

         4                   discovery.    That's -- that's pretty simple.

         5                   Is it not?

         6                        MR. DICKIESON:         Yes, it is, but this is

         7                   -- this is a huge business, and they've got

         8                   to look at every cranny.         They're finding

         9                   documents.    They're turning it over as they

        10                   find them, but there's a lot of documents

        11                   they've requested.       And so to put a timeline

        12                   that we have to have all of our documents

        13                   within a week, I don't think that's going to

        14                   be workable.

        15                        THE COURT:     I think that's unfair to say

        16                   "all of the documents."         I'm not going to

        17                   have all the documents.         The discovery will

        18                   begin within 30 days, and it will be an

        19                   ongoing obligation to continue discovery as

        20                   deemed appropriate.

        21                        MR. DICKIESON:         Discovery has already

        22                   begun.   We don't need a 30-day window.


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         1                        THE COURT:     Okay.      Well, that's --

         2                   that's -- 10 days.

         3                        MR. DICKIESON:         We're turning over

         4                   documents as they are available.          We have to

         5                   have them marked as confidential and things

         6                   like that.    That's the process that's between

         7                   now and Friday, but we will -- we just -- our

         8                   point is that this is not a motion to compel.

         9                   They can't compel us to produce things on

        10                   this -- on this hearing.

        11                        THE COURT:     You're correct.

        12                        MR. DICKIESON:         And so I don't want an

        13                   order saying we -- we got to do something as

        14                   a result of this hearing.

        15                        MR. HUNDLEY:        Your Honor, the issue is,

        16                   I mean, we're asking the Court to tell -- to

        17                   -- to -- well, what we're really asking the

        18                   Court to do is to set the deposition schedule

        19                   for the four witnesses that they've noticed

        20                   at this point.     One was -- one was noticed

        21                   for yesterday.     One was noticed for tomorrow.

        22                   Mr. Dickieson agrees that's just not doable,


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         1                   but there are two for next week, Wayne --

         2                   Wayne LaPierre and one other individual whose

         3                   name escapes me at the moment.          They're not

         4                   available next week, right?          They're going to

         5                   be in Alaska for the International Rifle

         6                   Association.     They'll be preparing -- they

         7                   have a -- they'll be preparing for the

         8                   National Rifle Association conference, which

         9                   is the following week in Alaska.

        10                        THE COURT:     So when will they be

        11                   available?

        12                        MR. COLLINS:        Your Honor, we can give

        13                   them dates.

        14                        THE COURT:     Say again?

        15                        MR. COLLINS:        We can get them dates

        16                   probably a couple of weeks right after that,

        17                   and we'll -- we will check and we'll get back

        18                   to them.

        19                        THE COURT:     Okay.      Is that agreeable?

        20                        MR. DICKIESON:         One caveat, your Honor,

        21                   and that is that we know that the -- with

        22                   respect to Wayne LaPierre's deposition,


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         1                   they're going to try their best to postpone

         2                   and postpone and postpone him.          This Notice

         3                   of Deposition has been out there for three

         4                   weeks, and we haven't heard anything that's

         5                   he's not available.         This is the first we've

         6                   heard that, and -- and so I think that what's

         7                   going to happen is that there's going to be a

         8                   number of reasons -- and they haven't -- they

         9                   haven't mentioned that they haven't turned

        10                   over the documents.         They were talking about

        11                   rolling production into January of next year

        12                   for their document production.

        13                        And -- and so we're in the same

        14                   situation.    These are issues outside of the

        15                   motions of -- we just want -- we just want to

        16                   make sure they're not dictating to us when we

        17                   schedule our depositions.         And I appreciate

        18                   your Honor's help trying to get a schedule in

        19                   a couple of weeks, but I don't know if that's

        20                   going to happen, but we want to move forward

        21                   with the September 5th date for Mr.

        22                   LaPierre's deposition.


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         1                        THE COURT:   And he's unavailable because

         2                   he's at a conference; is that correct?

         3                        MR. COLLINS:      It's the Board of

         4                   Directors meeting the following week.         So he

         5                   spends the week beforehand getting ready for

         6                   it to -- I guess if we got some documents on

         7                   Friday, we're not going to get others.         So we

         8                   still couldn't properly prepare, but we'll

         9                   have them out there in a couple of weeks, and

        10                   what we'll agree to, your Honor --

        11                        THE COURT:   So tell me when he will be

        12                   available for a deposition?

        13                        MR. COLLINS:      I can check, your Honor,

        14                   right afterwards, but, let's say, certainly

        15                   in the next -- end of September, early

        16                   October.

        17                        THE COURT:   No.     Let's -- let's do --

        18                   he's got a Board meeting on the 5th?         Did you

        19                   say the 5th of September?

        20                        MR. COLLINS:      No.

        21                        MR. HUNDLEY:      At the Court's indulgence.

        22                        (Whereupon the parties spoke briefly


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         1                   among themselves.)

         2                        MR. HUNDLEY:       Your Honor, it's the --

         3                   the conference will be, I believe, the 11th

         4                   to the 14th of September.        My understanding

         5                   is that he could be available the week of the

         6                   23rd.

         7                        THE COURT:    Any objection to the 23rd?

         8                        MR. DICKIESON:        It sounds like he's

         9                   available on the 5th, your Honor.         The whole

        10                   notion he's got to go to Alaska to prepare

        11                   for a conference for a week before doesn't

        12                   sound -- and they haven't given us notice of

        13                   that in the prior three weeks.

        14                        MR. HUNDLEY:       I mean, we don't have Mr.

        15                   LaPierre here to confirm with him his

        16                   availability, either.        So he -- but --

        17                        MR. DICKIESON:        My -- my colleague says

        18                   we'll -- we'll accept the week of the 23rd.

        19                        THE COURT:    Week of the 23rd.        Done.

        20                   Yes, sir.   What's next?

        21                        MR. DICKIESON:        I think that's it, your

        22                   Honor.


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         1                        MR. HUNDLEY:       Well, there are three

         2                   other individuals that you noticed.          I mean,

         3                   can we just work -- negotiate with -- amongst

         4                   ourselves to confer and pick dates for them?

         5                        THE COURT:    I think you all can solve

         6                   that.

         7                        MR. DICKIESON:        Yes.

         8                        THE COURT:    You can -- and we have the

         9                   order?   Or have you prepared the order?         Or

        10                   are we --

        11                        MR. DICKIESON:        We'll have -- we'll have

        12                   to go back to the office and prepare it to

        13                   resubmit it, your Honor.

        14                        THE COURT:    Thank you.       Thank you.

        15                        MR. HUNDLEY:       Thank you, your Honor.

        16

        17                        (Whereupon the proceedings concluded at

        18                   12:03 p.m.)

        19

        20

        21

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         1

         2                         REPORTER CERTIFICATE

         3

         4             I, JACQUELINE N. HAGEN, Court Reporter and Notary

         5    Public, certify that the foregoing is a true and correct

         6    transcript of my shorthand notes so taken;

         7             I further certify that I am not a relative or

         8    employee of any attorney or of any of the parties not

         9    financially interested in this action.

        10

        11                           ___________________________________

        12                          Jacqueline N. Hagen

        13

        14    Dated:   September 4, 2019

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